           Case 3:16-cv-00438-JR     Document 997   Filed 08/12/22   Page 1 of 199




      Troy D. Greenfield, OSB #892534
      Email: tgreenfield@schwabe.com
      Lawrence R. Ream (Admitted Pro Hac Vice)
      Email: lream@schwabe.com
      SCHWABE, WILLIAMSON & WYATT, P.C.
      1211 SW Fifth Avenue, Suite 1900
      Portland, OR 97204
      Telephone: 503-222-9981
      Facsimile: 503-796-2900

      Attorneys for the Receiver for Defendants
      AEQUITAS MANAGEMENT, LLC; AEQUITAS HOLDINGS, LLC;
      AEQUITAS COMMERCIAL FINANCE, LLC; AEQUITAS
      CAPITAL MANAGEMENT, INC.; AEQUITAS INVESTMENT
      MANAGEMENT, LLC




                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

      SECURITIES AND EXCHANGE                                         No. 3:16-cv-00438-JR
      COMMISSION,
                                                 NOTICE OF FILING RECEIVER’S
                    Plaintiff,                   REPORT DATED JUNE 30, 2022

           v.

      AEQUITAS MANAGEMENT, LLC;
      AEQUITAS HOLDINGS, LLC;
      AEQUITAS COMMERCIAL FINANCE,
      LLC; AEQUITAS CAPITAL
      MANAGEMENT, INC.; AEQUITAS
      INVESTMENT MANAGEMENT, LLC;
      ROBERT J. JESENIK, BRIAN A. OLIVER;
      and N. SCOTT GILLIS,

                    Defendants.

                                                                      SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -   NOTICE OF FILING RECEIVER’S REPORT DATED                             Attorneys at Law
                                                                                Pacwest Center
           JUNE 30, 2022                                                  1211 SW 5th Ave., Suite 1900
                                                                              Portland, OR 97204
                                                                            Telephone: 503.222.9981
                                                                               Fax: 503.796.2900
            Case 3:16-cv-00438-JR        Document 997        Filed 08/12/22    Page 2 of 199




            Ronald F. Greenspan, the duly appointed Receiver of the entity defendants and 43 related

     entities, hereby files the attached Report of Ronald F. Greenspan, Receiver, dated June 30, 2022.

            Dated this 12th day of August, 2022.

                                                   Respectfully submitted,

                                                   SCHWABE, WILLIAMSON & WYATT, P.C.



                                                   By:     s/ Troy D. Greenfield
                                                          Troy D. Greenfield, OSB #892534
                                                          Email: tgreenfield@schwabe.com
                                                          Lawrence R. Ream (Admitted Pro Hac Vice)
                                                          Email: lream@schwabe.com
                                                          Telephone: 503-222-9981
                                                          Facsimile: 503-796-2900

                                                          Attorneys for the Receiver for Defendants
                                                          Aequitas Management, LLC, Aequitas
                                                          Holdings, LLC, Aequitas Commercial
                                                          Finance, LLC, Aequitas Capital
                                                          Management, Inc., and Aequitas Investment
                                                          Management, LLC




                                                                                 SCHWABE, WILLIAMSON & WYATT, P.C.
Page 2 -   NOTICE OF FILING RECEIVER’S REPORT DATED                                        Attorneys at Law
                                                                                           Pacwest Center
           JUNE 30, 2022                                                             1211 SW 5th Ave., Suite 1900
                                                                                         Portland, OR 97204
                                                                                       Telephone: 503.222.9981
                                                                                          Fax: 503.796.2900
        Case 3:16-cv-00438-JR       Document 997          Filed 08/12/22   Page 3 of 199


                                       RONALD GREENSPAN
                                 COURT-APPOINTED RECEIVER FOR
             AEQUITAS MANAGEMENT, LLC, AEQUITAS HOLDINGS, LLC, AEQUITAS COMMERCIAL
    FINANCE, LLC, AEQUITAS CAPITAL MANAGEMENT, INC., AEQUITAS INVESTMENT MANAGEMENT, LLC AND
                                    CERTAIN RELATED ENTITIES
                                    (the “Receivership Entity”)




                              In re AEQUITAS MANAGEMENT, LLC, et al.




                                    Case No. 3:16-cv-00438-JR

                                    United States District Court

                                         District of Oregon

                                         Portland Division



                                              Report

                                                of

                                  Ronald F. Greenspan, Receiver

                                          June 30, 2022




1
                            Case 3:16-cv-00438-JR                                Document 997                        Filed 08/12/22                    Page 4 of 199


Contents
I.         Introduction ................................................................................................................................................................................ 4
II.        Limitations of Report ................................................................................................................................................................. 6
III. Case Background ....................................................................................................................................................................... 6
      A.       Introduction ........................................................................................................................................................................... 6
      B.       Focus of the Activities to Date .............................................................................................................................................. 7
      C.       Recommendation regarding Continuance of the Receivership........................................................................................ 16
      D.       Criminal Actions and SEC Investigations ........................................................................................................................... 17
      E.       Lifting the Stay of Litigation ................................................................................................................................................ 18
IV. Overview of the Receiver’s Activities ...................................................................................................................................... 18
      A.       Summary of Operations of the Receiver ............................................................................................................................ 18
      1.       Day-to-Day Management and the Wind Down ................................................................................................................... 18
      2.       Bank Accounts..................................................................................................................................................................... 19
      3.       Staffing................................................................................................................................................................................. 20
      4.       Tax Preparation and Other Tax Matters ............................................................................................................................. 21
      5.       Ongoing Litigation ............................................................................................................................................................... 23
      6.       Claims Process .................................................................................................................................................................... 25
      7.       Additional Information Sharing........................................................................................................................................... 25
      8.       Responding to Claims Process Inquiries ........................................................................................................................... 26
      9.       Claims Processing and Analysis ......................................................................................................................................... 26
V.         Disposition of Assets/Interests ............................................................................................................................................... 29
      A.       Assets/Interests Sold.......................................................................................................................................................... 29
      B.       Ongoing Asset Monetization and Sales Efforts ................................................................................................................. 30
      1.       Campus Student Funding ................................................................................................................................................... 30
      2.       MotoLease Financial, LLC (“MLF”) ..................................................................................................................................... 31
      3.       Portland Seed Fund (PSF)................................................................................................................................................... 32
VI. Communications to Interested Parties ................................................................................................................................... 32
      A.       Ongoing Communication with Investors/Counsel ............................................................................................................. 32
      B.       SEC and Other Governmental Agencies............................................................................................................................. 33
      1.       SEC ....................................................................................................................................................................................... 33
      2.       CSF and CFPB, and State Attorneys General..................................................................................................................... 33
      3.       Additional Governmental Agencies .................................................................................................................................... 33
VII. Lender Relationships ............................................................................................................................................................... 33
      A.       Retirement of Institutional Debt ......................................................................................................................................... 33
VIII. Assets in the Possession, Custody and Control of the Receivership Estate......................................................................... 33
      A.       Cash and Cash Equivalents ................................................................................................................................................ 33
2
                          Case 3:16-cv-00438-JR                               Document 997                      Filed 08/12/22                   Page 5 of 199


IX. Accrued Professional Fees ...................................................................................................................................................... 34
X.        Receivership Claimants ........................................................................................................................................................... 35
XI. Summary of the Distribution Plan ........................................................................................................................................... 36
     A.       Qualified Settlement Fund .................................................................................................................................................. 36
     B.       Distribution Plan .................................................................................................................................................................. 37
     C.        Findings of Fact and Conclusions of Law ......................................................................................................................... 37
     D.       Distribution Plan Noticing ................................................................................................................................................... 38
     E.       The First Distribution ........................................................................................................................................................... 38
     F.       The Second Distribution ..................................................................................................................................................... 39
     G.       The Third Distribution.......................................................................................................................................................... 39
     H.       Lux Settlement Implementation and Funds Release ........................................................................................................ 40
XII. Timeline and Future Interim Distributions .............................................................................................................................. 40




3
                        Case 3:16-cv-00438-JR                           Document 997                   Filed 08/12/22     Page 6 of 199



              Aequitas Receiver Report



              I.           Introduction

                           During the course of an investigation into the business practices of Aequitas

              Management, LLC (“AM”); Aequitas Holdings, LLC (“AH”); Aequitas Commercial Finance,

              LLC (“ACF”); Aequitas Capital Management, Inc. (“ACM”); and Aequitas Investment

              Management, LLC (“AIM”) (collectively “Entity Defendants”), as well as 43 subsidiaries

              and/or majority-owned affiliates (collectively “Receivership” or “Receivership Entity” or

              “Aequitas”), the Securities and Exchange Commission (“Commission” or “SEC”)

              concluded that the appointment of a receiver was necessary and appropriate for the

              purposes of marshaling and preserving all assets of the Receivership Entity (the

              “Receivership Property”). Accordingly, on March 10, 2016, the Commission and the

              Entity Defendants filed a Proposed Stipulated Order Appointing Receiver (the “Proposed

              Receivership Order”) [Dkt. 2-2].1

                           On March 16, 2016, pursuant to the Stipulated Interim Order Appointing Receiver

              (the “Interim Receivership Order”), Ronald Greenspan was appointed as Receiver for the

              Entity Defendants and 43 related entities on an interim basis. On April 14, 2016,

              pursuant to the Order Appointing Receiver, Mr. Greenspan was appointed as Receiver for

              the Receivership Entity on a final basis (the “Final Receivership Order”) [Dkt. 156].

                           In accordance with the Final Receivership Order, the Receiver is required to file a

              report (the “Receiver’s Report”) with the Court within thirty (30) days after the end of

              each calendar quarter. This report (the “Report”) represents the report and



1   All Dkt (or Docket) references are available at the Receiver’s website - http://www.kccllc.net/aequitasreceivership
4
         Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22    Page 7 of 199


    recommendations to the Court for the quarter ending March 31, 2022. A voluntary

    report and recommendations to the Court (the “Initial Report”) for the first “stub quarter”

    ending June 30, 2016 [Dkt. 246], the first mandated quarterly report covering the period

    through September 30, 2016 [Dkt. 298] and subsequent reports covering the period

    through December 31, 2016 [Dkt. 365], through March 31, 2017 [Dkt. 444], through

    June 30, 2017 [Dkt. 491], through September 30, 2017 [Dkt. 559], through December

    31, 2017 [Dkt 587], through March 31, 2018 [Dkt. 610] through June 30, 2018 [Dkt.

    644], through September 30, 2018 [Dkt. 662], through December 31, 2018 [Dkt. 674],

    through March 31, 2019 [Dkt. 700], through June 30, 2019 [Dkt. 749], through

    September 30, 2019 [Dkt. 776], through December 31, 2019 [Dkt. 793], through March

    31, 2020 [Dkt. 826], through June 30, 2020 [Dkt. 843], through September 30, 2020

    [Dkt. 860], through December 31, 2020 [Dkt. 872], through March 31, 2021 [Dkt. 885],

    through June 30, 2021 [Dkt. 903], through September 30, 2021 [Dkt. 915], through

    December 31, 2021 [Dkt. 922], and through March 31, 2022 [Dkt. 979] are collectively

    referred to herein as the “Receiver’s Reports”. In the accompanying discussion of

    Receivership matters, the Report provides an update regarding some matters previously

    reported and does not include all details contained in prior Receiver’s Reports. For a

    complete and fulsome discussion and for such additional details please refer to prior

    Receiver’s Reports.

           As is the case for the prior Receiver’s Reports, the findings and recommendations

    of the Receiver contained in this Report are subject to change, as necessitated by the

    discovery of additional information, as well as subsequent analysis and verification.




5
           Case 3:16-cv-00438-JR      Document 997       Filed 08/12/22    Page 8 of 199


    II.     Limitations of Report

            The information contained herein has been prepared based upon financial and

    other data obtained from the Receivership Entity’s books and records and provided to

    the Receiver and FTI Consulting, Inc. from the staff employed by the Receivership Entity

    as well as its contract staff and advisers, or from public sources.

            The Receiver has not subjected the information contained herein to an audit in

    accordance with generally accepted auditing or attestation standards or the Statement

    on Standards for Prospective Financial Information issued by the American Institute of

    Certified Public Accountants (the “AICPA”). Also, most of the Receivership Entity’s assets

    discussed herein are not readily tradable, have no public value indication, are illiquid,

    are often minority and/or other partial interests, and might be detrimentally affected by

    affiliation with Aequitas and uncertain consequences of past and future events involving

    Aequitas. Accordingly, the Receiver cannot express an opinion or any other form of

    assurance on, and assumes no responsibility for, the accuracy or correctness of the

    historical information or the completeness and achievability of the projected financial

    data, valuations, information, and assessments upon which the following Report is

    rendered.



    III.    Case Background

            A.     Introduction

            The focus of this Report is to provide an update on various aspects of the

    Receivership. Additionally, the Final Receivership Order requires that certain items be

    addressed with the filing of this Report. Pursuant to Section IV Stay of Litigation,

    paragraph 24 states the following:



6
                      Case 3:16-cv-00438-JR                            Document 997                     Filed 08/12/22                 Page 9 of 199


                                      The Receiver shall also investigate the probable impact of discovery

                         directed to the Receiver and the Receivership Entity in Ancillary Proceedings and

                         those actions authorized in Paragraph 23. The Receiver shall include in the

                         report and petition it must file pursuant to Paragraph 39 below, a

                         recommendation to the Court as to a plan to govern all discovery directed to the

                         Receiver and the Receivership Entity in Ancillary Proceedings and those actions

                         authorized in Paragraph 23.

                         Each of the required topics will be addressed individually in the Report.

                         B.           Focus of the Activities to Date

                         The Receiver has successfully stabilized the Receivership Entity, preserved value

            when possible, facilitated the monetization of a majority of the Receivership assets,

            obtained approval of the Distribution Plan and completed three, court-approved interim

            distributions of a majority of the Receivership assets. Through the quarter ended June

            30, 2022, the Receiver has sold Receivership Entity gross assets and collected

            receivables totaling approximately $325.1 million, plus an additional $32 million of

            gross assets owned by CPFIT (an affiliate of the Receivership Entity but excluded from

            the Receivership itself), has collected proceeds from litigation and settlements totaling

            $20.3 million, and has negotiated claims reductions exceeding at least $95 million as

            part of approved settlement agreements.2

                         The Receiver has also entered into and substantially completed the

            implementation of a settlement with the Consumer Financial Protection Bureau (“CFPB”)

            and fourteen state Attorneys General in connection with the Corinthian Colleges student




2 On April 28, 2022, on behalf of the Receivership Entity, the Receiver entered a Settlement Agreement with the Liquidating Trust of the Bankruptcy Estate of Tango Delta Financial,

Inc., (fka American Student Financial Group, Inc. “ASFG”). ASFG and TRD Consulting, LLC (“Joint Claimant”) had filed a proof of claim in the receivership in the amount of $27,381,251.
The Liquidating Trust has agreed to release all claims against the Receivership Entity.
7
                    Case 3:16-cv-00438-JR                           Document 997                   Filed 08/12/22                 Page 10 of 199


            loan portfolio held by CSF - including modification or cancellation of each of the

            approximately 47 thousand loans, and appropriate notification to each of the borrowers.

                        As previously discussed, on March 10, 2016, the SEC filed a complaint in this

            Court alleging that certain Aequitas executives and five entities had violated various

            federal securities laws. On June 6, 2016, the SEC and the Receiver, acting on behalf of

            the Aequitas Entity Defendants, filed a consent judgment with the Court, which resolved

            the claims set forth in the SEC Complaint against the Entity Defendants only, without

            admitting or denying the numerous allegations. A final judgment in this case as to

            Aequitas Management, LLC; Aequitas Holdings, LLC; Aequitas Commercial Finance, LLC;

            Aequitas Capital Management, Inc.; and Aequitas Investment Management, LLC was

            entered by the Court on April 13, 2020 [Dkt. 822]. Summary information related to this

            judgment and final judgments on consent against the three top executives can be found

            at https://www.sec.gov/litigation/litreleases/2020/lr24805.htm.

                        As mandated by the Order, the Receiver conducted his forensic investigation, and

            the resulting report (the “Forensic Report”) was filed with the Court and posted to the

            Receiver’s website3 on November 21, 2018 [Dkt. 663].

                        On April 25, 2019, the Court entered the Order (1) Establishing Claims Bar Date,

            (2) Approving The Form And Manner Of Notice, And (3) Approving The Proof Of Claim

            Form, Procedures And Other Related Relief (the “Claims Procedures Order”).

                        The Receiver then proceeded expeditiously to implement the claims process as

            mandated in the Claims Procedures Order. As of June 30, 2022, 341 claims had been

            received and 4,830 initial Notices of Receiver’s Initial Determination had been issued.4




3http://www.kccllc.net/aequitasreceivership/document/1600438181121000000000001
4Certain claims agree with the Notice of Receiver’s Initial Determination, and a number of filed claims are duplicative. Therefore, the number of actual claims is less than the
sum of the filed claims and NODs issued.
8
        Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22    Page 11 of 199


    The Receiver has adjudicated the vast majority of the claims that were filed against the

    Receivership Estate and is actively pursuing resolution of a handful of remaining claims.

           On December 23, 2019, with the goal of mitigating certain potential tax

    consequences and maximizing the future distributions on the Allowed Claims, the

    Receiver filed his Motion and the Court entered the Order To Authorize, Approve, And

    Take Continuing Jurisdiction Over A Qualified Settlement Fund (“QSF”), And For Related

    Relief [Dkt 781]. Subsequently, on December 31, 2019, the Receiver filed his Motion

    For Order (1) Approving Form And Manner Of Notice Regarding Approval Of Proposed

    Distribution Plan And Ponzi Determination, (2) Approving Procedures And Deadlines, (3)

    Setting A Hearing, And For Related Relief [Dkt 785] which was approved by the Court on

    January 14, 2020 [Dkt 790].

           Also, on December 31, 2019, the Receiver filed the Motion To Approve The

    Receiver’s Distribution Plan And Determination Of A Ponzi Scheme [Dkt 787]. Following

    a hearing on this Motion on March 31, 2020, the Court entered the Findings of Fact and

    Conclusions of Law, approving the Receiver’s Distribution/Ponzi Determination Motion,

    as expressly modified by the Receiver [Dkt. 813].

           In the first half of 2020, the Receivership staff and the retained professionals

    expeditiously managed a Distribution Plan noticing campaign, based on the form and

    manner of notice approved by the Court, and also prepared to seek Court approval of the

    proposed first round of distributions. At least 4,796 notices were sent to the parties that

    were required to be noticed by the Court and relevant information was posted on the

    Receivership website.

           On May 15, 2020, the Receiver's Motion to Approve Classification, Allowance of

    the Amount of Claims for Certain Claimants (Administrative Claims, Convenience Class

    Claims, and Former-Employment Claims), and Approving Distributions to Those

9
                       Case 3:16-cv-00438-JR                             Document 997                    Filed 08/12/22   Page 12 of 199


               Claimants [Dkt. 835] and the related pleadings were filed with the Court. The Motion was

               unopposed and was approved by the Court on June 1, 2020 [Dkt. 838]. Following Court

               approval in June of 2020, the Receivership staff and retained professionals completed

               the first distribution in the amount of $973,7975.

                            On October 21, 2020, the Receiver's (Second) Motion to Approve Classification of

               Certain Claims (Administrative, Former-Employees, Convenience Class, Defrauded

               Investors, Creditors, Individual Defendants, and Pass-Through Investors), and Allow and

               Approve Distributions on Account of Certain Claims (the “Second Distribution Motion”)

               and related pleadings were filed with the Court. [Dkt. Nos. 848-850]. This Motion

               addressed 2,056 claims across seven different claim classes. The Second Distribution

               Motion was approved by the Court on November 10, 2020 [Dkt. 861], following which

               the Receivership staff and retained professionals focused their efforts on the

               implementation of the Second Distribution. The Second Distribution was substantially

               completed by the end of 2020, with approximately $73.5 million going to Defrauded

               Investors6.

                            In the first quarter of 2021, the Receivership staff and the retained professionals

               focused on the various tasks of completing the Second Distribution, including but not

               limited to extensive communication with the Investors and their representatives,

               addressing Investor inquiries, re-issuing distributions on a case-by-case basis under

               special circumstances, and preparing for and implementing required tax reporting

               related to the Second Distribution.

                            During the second quarter of 2021, the Receivership staff and the retained

               professionals prepared for the next (third) interim distribution and resolution of the



5   Additional detail related to the First Distribution is discussed in section XI.E. of this Report.
6   Additional detail related to the Second Distribution is discussed in section XI.F. of this Report.

10
         Case 3:16-cv-00438-JR         Document 997      Filed 08/12/22     Page 13 of 199


     remaining claims. On July 16, 2021, distribution motion notices were mailed to 1,674

     parties and relevant information, including answers to an exhaustive set of FAQs, was

     posted on the Receivership website. On July 19, 2021, the Receiver filed a Third Motion

     to Approve Classification of Certain Claims (Administrative, Convenience Class, Creditors,

     and Defrauded Investors), Allow and Approve Distributions on Account of Certain Claims,

     and Approving Distributions to Claimants Who Elect Reclassification To Convenience

     Class Status (the “Third Distribution Motion”), by which the Receiver proposed to

     distribute approximately $22 million to several classes of claimants. The Third

     Distribution Motion was approved by the Court on August 5, 2021. Thereafter, the

     Receivership staff and professionals proceeded expeditiously to implement the

     distribution. The third interim distribution was completed in October 2021.

            From the outset of the Receivership and through this reporting period, the

     Receiver and his team have expended considerable time and effort to orchestrate

     successful resolution of claims of both the Receivership Entity and plaintiff investor

     groups, including but not limited to claims against the professional firms that served the

     various Aequitas entities such as Tonkon Torp, Integrity Bank & Trust, Deloitte & Touche,

     EisnerAmper, Sidley Austin, Duff & Phelps, and TD Ameritrade (“Professional Firm

     Defendants”).

            In particular, development of the Receivership Entity’s consolidated database,

     preparation of the Forensic Report and facilitation of multiple large-scale, multi-day

     mediation sessions paved the way for the following:

                    Payments from the Professional Firm Defendants to the class totaling

                     $234,613,000, as well as multiple additional seven- and eight-figure

                     payments to other plaintiff investor groups presently subject to

                     confidentiality agreements;

11
         Case 3:16-cv-00438-JR         Document 997      Filed 08/12/22      Page 14 of 199


                    Releases of contribution and other claims of the Professional Firm

                     Defendants against the Receivership Entity, including the release of a $50

                     million contribution claim presented by Deloitte; and

                    Contingent releases of contribution and other claims of the Professional

                     Firm Defendants against the Individual Defendants, Advisory Board

                     members and other former officers and directors. The original releases

                     were contingent upon those parties releasing claims to the proceeds of

                     the insurance policies maintained by entities comprising the Receivership

                     Entity.

            The efforts of the Receiver to facilitate resolution of investor claims against the

     Professional Firm Defendants greatly accelerated distributions to the investors, both

     direct distributions of the settlement proceeds and ultimately distributions from the

     Receivership Estate and have meaningfully reduced the cost of administering the

     Receivership.

            On October 22, 2020, the Receiver filed a Motion for Order (1) Approving

     Compromises of Claims, (2) Approving and Authorizing Performance of Settlement

     Agreements, (3) Entering Claims Bars, and (4) Removing a Receivership Entity and an

     Extended Entity (“First Motion to Approve Settlements”) and related pleadings [Dkt. Nos.

     852 – 855] encompassing 36 settlements. Amongst other requested relief, the

     Receiver sought approval of the settlement agreement resolving all claims presented in

     the consolidated insurance coverage action other than those of the Receivership Entity

     against Catlin. Judge Jolie A. Russo granted the Receiver’s First Motion to Approve

     Settlements on November 10, 2020, by way of Findings, Recommendations and Order

     [Dkt. 862], that were simultaneously referred to Judge Marco A. Hernández for review

     [Dkt. 863]. On December 11, 2020, Judge Hernández issued an Order adopting Judge

12
         Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22    Page 15 of 199


     Russo’s Findings and Recommendations [Dkt. 866] and entered the Amended Limited

     Judgment As To The Professional Firms And The Terrell Parties, Including Permanent

     Injunctions [Dkt. 867].

             On April 16, 2021, the Receiver filed a Motion for Order Approving Compromises

     of Claims and Authorizing Performance of Settlement Agreements (“Second Motion to

     Approve Settlements”) and related pleadings [Dkt. Nos. 881-883], involving 47

     additional settlements. On May 6, 2021, the Court entered an order granting the

     Receiver’s Second Motion to Approve Settlements. [Dkt. No. 886].

            On July 7, 2021, the Receiver filed another Motion for Order Approving

     Compromises of Claims and Authorizing Performance of Settlement Agreements (“Third

     Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 889-891], that was

     granted by the Court on July 26, 2021 [Dkt. No. 898].

              On October 27, 2021, the Receiver filed another Motion for Order Approving

     Compromises of Claims and Authorizing Performance of Settlement Agreements (“Fourth

     Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 912 - 914], seeking

     the Court’s approval of 25 additional settlement agreements that collectively result in

     payments to the Receivership Estate totaling $1,207,892.90. On November 23, 2021,

     the Court entered an order granting the Receiver’s Fourth Motion to Approve

     Settlements [Dkt. No. 916].

            On March 24, 2022, the Receiver filed another Motion for Order Approving

     Compromises of Claims and Authorizing Performance of Settlement Agreements (“Fifth

     Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 961 - 963], seeking

     the Court’s approval of 16 additional settlement agreements that collectively result in

     payments to the Receivership Estate totaling $1,111,798.00. On April 12, 2022, the



13
         Case 3:16-cv-00438-JR         Document 997      Filed 08/12/22    Page 16 of 199


     Court entered an order granting the Receiver’s Fifth Motion to Approve Settlements [Dkt.

     No. 974].

            The settlements addressed in the Receiver’s First, Second, Third, Fourth, and

     Fifth Motions to Approve Settlements and in one prior separate settlement motion

     resulted in over $22.3 million in direct monetary benefits to the Receivership Estate.

     Additionally, these settlements eliminated tens of millions of dollars of claims against

     the Receivership Estate, materially increasing the recovery on the allowed claims of the

     Defrauded Investors and others.

            During this reporting period, on May 26, 2002, the Receiver filed a Motion for

     Order (1) Approving Compromises of Claims, (2) Authorizing Performance of Settlement

     Agreements, and (3) Authorizing Disbursement of Funds Held in a Segregated Account

     (“Sixth Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 980 - 982],

     seeking the Court’s approval of nine additional settlements, including a settlement with

     the Liquidating Trust of the Bankruptcy Estate of Tango Delta Financial, Inc., (fka

     American Student Financial Group, Inc. “ASFG”). The proposed settlements, if approved

     by the Court, would result in payments to the Receivership Estate totaling $128,510.00;

     release of counterparties’ claims against the Receivership Estate in excess of

     $29,000,000; and release of $1,683,403.38 plus accrued interest from a segregated

     account. TRD Consulting, LLC subsequently filed a limited objection to the subject

     motion. On June 23, 2022, the Receiver filed a reply and supporting declaration [Dkt.

     988-989], and the Court took the matter under advisement.

            The Receiver and his retained professionals continue to actively pursue

     recoveries on the remaining claims that the Receivership holds against various parties,

     including but not limited to a very limited number of non-settling net winners and a few

     other parties who received transfers of value from Aequitas during the Ponzi period. The

14
          Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22     Page 17 of 199


     Receiver’s goal is to conclude these recovery efforts during 2022, although this

     timetable will necessarily depend upon the posture of the adverse parties and the

     Court’s calendar.

            During the subject reporting period, the Receiver and his remaining retained

     professionals continued to work on various aspects of the operational wind down,

     despite the challenges presented by the COVID-19 pandemic. Following up on significant

     changes to the IT infrastructure initiated during the first quarter of 2021 that included

     transition to an off-site data center and strengthening the infrastructure security by

     implementing a two-factor authentication process, the Receivership staff and retained

     professionals continued to expend significant effort implementing the next phase of the

     IT footprint and spend reduction by transitioning the IT infrastructure to a 100% cloud-

     based solution. Following the evaluation of the Receivership infrastructure and data

     assets and securing a favorable contract with a cloud service provider for the cloud-

     based transition and infrastructure hosting, the implementation of the transition to the

     cloud-based infrastructure was successfully completed during the subject reporting

     period. The Receivership has exited the data center and has disposed of the unneeded

     hardware assets. The Receiver’s focus in this process has remained on ensuring that

     appropriate infrastructure is in place to efficiently support Receivership ongoing

     operations through the wind down and to preserve information that may be relevant in

     ongoing litigation.

            The office utilized by the Receivership staff was relocated at the end of the first

     quarter of 2021, with the footprint and rental cost significantly reduced as discussed

     further below. The Receiver has obtained flexible termination provisions in the

     Receivership’s current office and is able to vacate the premises and terminate the lease

     when the space is no longer needed or the Receivership winds up.

15
          Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22    Page 18 of 199




            During the reporting period, the Receivership continued to facilitate discovery,

     with additional parties accessing the database, which contains 17.5 million documents.

     At this stage, the database is largely used by members of the Receiver’s professional

     team in support of recovery efforts, as well as the U.S. Attorney’s Office and counsel for

     the criminal defendants.

            During the reporting period, members of the Receiver’s professional team

     continued to provide financial and tax administration including preparing Receivership

     Entity tax returns.

            C.      Recommendation regarding Continuance of the Receivership

            It remains the Receiver’s recommendation that the Receivership be continued. A

     number of the conditions under which the Receivership was imposed still exist. While

     we are in the homestretch, several crucial steps remain before the Receiver can

     reasonably seek an order terminating the Receivership. The Receiver must finish

     monetizing the remaining assets in a manner and on a timeline consistent with

     reasonably maximizing the value to stakeholders. The Receiver also must (i) complete

     the claims processes, (ii) complete necessary litigation, (iii) manage remaining

     distribution(s), and (iv) wind down the estate.

            Although the consumer loan portfolios have been immensely reduced, the

     thousands of remaining loans owned by the Receivership require management until they

     are monetized or otherwise resolved. The Receiver and his team fill the management

     gap left after the termination of the Individual Defendants and the departures of other

     management and staff (more than 95% of pre-Receivership employees are no longer

     with the companies comprising the Receivership Entity). Absent that day-to-day, hands-




16
         Case 3:16-cv-00438-JR           Document 997     Filed 08/12/22     Page 19 of 199


     on management, the Receivership Entity’s and, ultimately, the investors’ value would be

     diminished, and risks significantly increased.

            Feedback from SEC Staff and Aequitas investors regarding our progress thus far

     has been positive. The Receiver is very mindful of the priorities to proceed both

     expeditiously and economically, to make interim distributions whenever possible, and

     conclude this Receivership in an equitable fashion as soon as practicable. The Receiver

     believes he has the constituents’ support and encouragement to continue his efforts,

     and that they also support the continuation of the Receivership.

            D.      Criminal Actions and SEC Investigations

            On July 24, 2019, the Securities and Exchange Commission announced that

     recidivist Gary Price, a principal of formerly registered investment adviser Genesis

     Capital LLC, agreed to settle claims that he failed to disclose to clients significant

     conflicts of interest relating to recommendations to invest in securities issued by

     Aequitas Commercial Finance, LLC.

            The SEC's order found that Price violated Section 206(2) of the Investment

     Advisers Act of 1940. Without admitting or denying the SEC's findings, Price consented

     to a cease-and-desist order and agreed to pay disgorgement and prejudgment interest of

     $67,033 and a civil penalty of $75,000. The order also bars Price from association with

     any broker, dealer, investment adviser, municipal securities dealer, municipal advisor,

     transfer agent, or nationally recognized statistical rating organization, with the right to

     apply for reentry after one year.

            Former officers of Aequitas entities, Brian Oliver and Olaf Janke, were indicted,

     pled guilty and await sentencing. On or about August 11, 2020, Robert Jesenik, former

     CEO of Aequitas Management, LLC and several other of the entities comprising the

     Receivership Entity, was charged in a 32-count indictment with conspiracy to commit

17
           Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22     Page 20 of 199


     mail and wire fraud, wire fraud, bank fraud, and money laundering. Also charged were N.

     Scott Gillis, Brian K. Rice and Andrew N. MacRitchie. The Court entered a scheduling

     order, setting an anticipated five-week trial to begin April 3, 2023.

             E.     Lifting the Stay of Litigation

             With the completion of the principal forensic investigation, the monetization of

     the majority of the Receivership Entity’s assets, conclusion of the governmental litigation

     against the Receivership Entity, Court approval of the Distribution Plan and completion

     of three interim distributions, additional resources were redirected to litigation-related

     matters, where the stay has been lifted, without jeopardizing the Receivership’s other

     vital activities. Presently, the Receivership is prosecuting its claims against third parties,

     as authorized by the Court on May 13, 2020 [Dkt. 834]. The Receiver recommends that

     the Court refrain from lifting the stay of litigation against the Receivership Entity and

     related parties, at least until resolution of the claims authorized by order of this Court on

     May 13, 2020, which may be as soon as the end of 2022.



     IV.     Overview of the Receiver’s Activities

             A.     Summary of Operations of the Receiver

             1. Day-to-Day Management and the Wind Down

             With the termination of Aequitas management, the Receiver has necessarily

     supervised the day-to-day operations of the various Receivership Entities. In addition to

     the daily management duties, the Receiver has focused on several key areas of his

     mandate, including the marshaling, preserving, and monetizing of assets for the benefit

     of the investors, as well as managing the claims process and distributions on the

     Allowed Claims.



18
         Case 3:16-cv-00438-JR         Document 997       Filed 08/12/22    Page 21 of 199


            As addressed above, the Receiver and his professional team have been working

     on various aspects of the gradual operational wind down, despite the challenges

     presented by the COVID-19 pandemic. The office utilized by the Receivership staff was

     relocated at the end of the first quarter of 2021, with the footprint and rent significantly

     reduced, resulting in annualized rent savings of approximately $202,000, and the

     Receiver allowed to terminate the new lease upon notice to the landlord. As part of the

     relocation, the Receivership has disposed of the remaining surplus office furniture and

     various equipment. Early in 2021 and in connection with the office relocation, the

     Receiver made significant changes to the IT infrastructure, including transitioning to an

     off-site data center and scaling down certain service agreements, achieving significant

     cost savings. Additionally, the Receiver strengthened the infrastructure security by

     implementing a two-factor access authentication process. During this reporting period,

     the Receiver completed the next phase of infrastructure reduction, transitioning to a

     100% cloud-based solution and vacating the data center as discussed earlier in this

     Report. Such transition is expected to provide additional annual cost savings stemming

     from reduction in infrastructure management labor costs and more flexibility going

     forward, while allowing the Receivership to continue its necessary operations during the

     wind-down period.

             2. Bank Accounts

            As discussed in the Initial Report, the Receiver has instituted an integrated on-

     line platform that facilitates banking, processing of future distributions, and cash

     reporting for receivership cases. As assets are being monetized, the Receiver has been

     closing bank accounts that are no longer necessary. Following the approval of the QSF

     by the Court at the end of 2019, the Receiver has established separate QSF bank

     accounts and has consolidated the majority of the funds controlled by the Receiver in

19
         Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22     Page 22 of 199


     such account(s). In 2020 and 2021, the Receiver closed 39 of the legacy Receivership

     bank accounts that were no longer needed for the ongoing operations of the

     Receivership and the QSF. This helped streamline the Receivership cash management

     operations and facilitate the wind down. As of June 30, 2022, the Receiver maintained

     18 bank accounts, consisting of 15 that belong to the Receivership Entity, including six

     attributed to the QSF, and three accounts controlled by the Receiver that are owned by

     related entities. The Receiver continues to gradually close bank accounts that will no

     longer be needed for the Receivership operations.

            The Receiver intends to continue leveraging the existing banking relationships

     and systems for the implementation of future distribution(s) to the extent feasible.

            Cash basis reports including information for the current reporting period and case

     to date are attached as Exhibit B.

             3. Staffing

                   a.      Headcount

            The Receiver continues to maintain the minimum staff necessary for the

     Receivership and enterprise to operate efficiently and effectively. As of June 30, 2022,

     the Receivership Entity had five full-time employees and one part-time employee. The

     Receiver’s employee retention program provides for at least six-weeks’ notice to

     employees whose services are anticipated to no longer be required by the Receivership.

                   b.       Contractors

            In response to earlier staff attrition in addition to the planned reductions, the

     Receiver necessarily backfilled key accounting and technology positions with local

     independent contractors (not affiliated with FTI). As of June 30, 2022, the Receivership

     employed two on-call IT contractors, one portfolio management contractor, and one

     administrative / investor relations contractor.

20
         Case 3:16-cv-00438-JR         Document 997     Filed 08/12/22     Page 23 of 199


             4. Tax Preparation and Other Tax Matters

                   a.       Taxes

            In the ordinary course of business, the Receivership has many reporting and tax

     preparation responsibilities to investors and taxing authorities. Since the inception of

     the Receivership, the Receiver has retained a tax specialist to assist legacy Aequitas

     staff in the preparation of tax and information returns, and to provide tax consulting

     services on an as-needed basis at the request of the Receiver. During the subject

     reporting period, Receivership staff and professionals continued the extensive work to

     address 2021 Receivership tax reporting and tax inquiries. The staff and professionals

     have also focused on planning for potential tax requirements and obligations on closure

     of the Receivership.

                   b.       Qualified Settlement Fund and Receivership Entities 2021

                            Taxation

     As further described in section XI of this Report, on motion and by order of the Court,

     substantial assets of the Receivership Entities were transferred to the Aequitas Qualified

     Settlement Fund Irrevocable Trust (“QSF”) along with the obligation to make distributions

     under the Court-approved Distribution Plan.

            The QSF is subject to tax on its modified gross income. To the extent that assets

     transferred to the QSF produce includable income, less certain expenses, the QSF will be

     required to pay tax at the maximum tax rate in effect for that tax year under section 1(e)

     of the Internal Revenue Code. The QSF is required to pay tax by submitting quarterly

     estimates. During each quarter, including the subject reporting period, Receivership

     staff review the estimated income and expenses for the year and determine if a payment

     is required. Any remaining tax due is paid by the return due date.



21
          Case 3:16-cv-00438-JR          Document 997      Filed 08/12/22    Page 24 of 199


               State tax filing requirements for the QSF are determined by the source of the

     activity of the assets transferred to the QSF.

               As of the date of this Report, the 2021 federal and state QSF tax returns have

     been filed.

               Since the establishment of the QSF, final federal and state tax returns have been

     filed for many of the Receivership Entities. 2021 federal and state returns for the

     remaining Receivership entities were extended by their due date and are being filed as

     soon as they are complete. It is expected that the QSF will be the final tax filing entity for

     the Receivership allowing for the wind down and final tax filings for all other entities not

     previously completed.

                      c.     Non-Investor Fund Form K-1s

               As of the date of this Report, members of Aequitas Holdings LLC, Aequitas

     Partner Fund LLC, and Aequitas Management LLC have been provided 2021 form K-1s.

                      d.     Distribution Information Reporting and Taxation

               If any future interim distributions are made, the Receiver will provide information

     reporting as required by law.

               The Trustee/Administrator of the QSF as well as the Aequitas Receivership staff

     and representatives cannot provide Receivership claimants with tax or other legal

     advice.

               Distribution recipients are responsible for determining their tax consequences

     and reporting requirements, if any, associated with Receivership distributions and are

     ultimately responsible for any tax obligation arising from such distributions. They should

     consult with their own tax advisors to determine the effects of U.S. federal, state, local,

     and any non-U.S. (if applicable) tax rules with respect to the tax consequences of any

     distributions.

22
         Case 3:16-cv-00438-JR         Document 997       Filed 08/12/22     Page 25 of 199


             5. Ongoing Litigation

            As addressed in prior reports and reflected in the previously disclosed

     settlements, the Receiver continues his frequent engagement in negotiations with a

     number of parties to recover Receivership assets and/or to resolve substantial, disputed

     claims. Consistent with the Court’s prior and any subsequent orders, to the extent

     negotiated resolutions are not reached with any of the parties, the Receiver will file

     additional actions.

                    A.     Newman

            The Court granted summary judgment in favor of the Receiver on claims for

     breach of a promissory note. Together with attorney fees, the judgment against the

     defendants, Robert Jesenik’s relatives, totaled $462,754.68 plus interest. The Receiver

     necessarily initiated judgment debtor proceedings.      In light of the defendants’ financial

     circumstances, the Receiver negotiated a compromise resolution. During this reporting

     period, the Court approved the settlement [Dkt. No. 974] and the defendants paid

     $334,000 to the Receivership Estate.

                    B.     Net Winners

            With the benefit of the Court’s determination that the consolidated Aequitas

     enterprise was operated as a Ponzi scheme at least as early as July 1, 2014 [Dkt. 813],

     the Receiver and his team gathered and analyzed data to identify “net winners”

     (investors who received funds in excess of their initial investments prior to initiation of

     the Receivership) and determine the amount of their net winnings. The Receiver then

     provided individual net winners a summary of their account activity as well as a pre-

     litigation offer of settlement. The majority of the net winners accepted the Receiver’s

     offer and made the corresponding repayment to the Receivership Estate. Those net




23
         Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22    Page 26 of 199


     winner settlement agreements were addressed in the Receiver’ First, Second, and Third

     Motions to Approve Settlements.

            In accordance with the prior orders of the Court, on June 28, 2021, the Receiver

     filed suit against all net winners who had not agreed to return their net winnings to the

     Receivership Estate (“Net Winner Defendants”), seeking to recover approximately

     $2,000,000 plus interest. Since filing suit, the Receiver has resolved the Receivership

     Entity’s claims against 41 of the Net Winner Defendants. On November 23, 2021, and

     on April 12, 2022, the Court entered orders granting the Receiver’s Fourth and Fifth

     Motion to Approve Settlements, including, respectively, those with 23 and 11 of the Net

     Winner Defendants.

            The table below summarizes the status of the net winner recoveries as of June

     30, 2022.




            The Receiver issued a final settlement offer to the remaining Net Winner

     Defendants and will soon file a motion for entry of summary judgment against the very

     few who did not accept the offer.

                   C.      Lawsuits Against Recipients of Commissions, Consulting Fees and

                           Advisory Fees

            On July 9, 2021, the Receiver filed suit against eleven different parties who

     received transfers from Aequitas during the Ponzi Period that were nominally referred to

     as commissions, consulting fees or advisory fees, seeking to recover approximately

     $1,210,000 plus interest. The Receiver has negotiated settlement agreements with

24
          Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22    Page 27 of 199


     nine of the eleven parties, obligating those parties to collectively return $786,000 to the

     Receivership Estate.

            On July 21, 2022, the Receiver filed suit against four additional parties who

     received direct or subsequent transfers from Aequitas during the Ponzi Period, seeking

     to recover $6,996,611 plus interest.

                    D.       Other

            The Receiver is in the midst of settlement negotiations with additional parties,

     which are subject to claims for breach of contract and fraudulent conveyance. As

     indicated above, in the event the claims cannot be resolved in the best interests of the

     Receivership Estate, the Receiver will commence litigation in accordance with the prior

     orders of this Court.

             6. Claims Process

            The Receiver undertook an extensive claim noticing process that included notices

     by publication in 15 major newspapers, issuance and dissemination of a press release,

     and mail and email noticing of over 6,982 parties, including at least 4,830 parties who

     received a Notice of Receiver’s Initial Determination.

            In total, the following number of Notices were sent out:

     Investor with NOD                                                             2,060
     Other Pre-Receivership Creditor / Vendor with NOD                             2,040
     Employee with NOD                                                                84
     Administrative Claimant with NOD                                                646
     Non-NOD notices (not counted above)                                           2,152
                    Total Notices                                                  6,982


             7. Additional Information Sharing

            Consistent with the requirements of the Claims Procedures Order, the Receiver

     set up a dedicated data sharing site that allowed him to provide copies of notices to the


25
         Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22    Page 28 of 199


     legal counsel representing various potential claimants. In some instances, copies of the

     notices were emailed to legal counsel directly.

            While not required by the Claims Procedures Order, in the spirit of cooperation,

     the Receiver elected to also share copies of the notices received by investors with their

     Registered Investment Advisors (“RIA”) upon receipt of a confirmation of investor’s

     consent to the Receiver’s sharing of such information.

             8. Responding to Claims Process Inquiries

            Following the mailing of the claims process notices, the Receiver and his staff

     received numerous follow up inquiries from various parties, including potential claimants

     and their representatives. Through June 30, 2022, over 2,423 inquiries in connection

     with the claims process, distributions, and related tax reporting were addressed directly

     by the Receivership staff and professionals. The Receivership team is continuing to field

     and respond to inquiries as they are received.

             9. Claims Processing and Analysis

            The Receiver’s professionals and staff have performed the review of the filed

     claims and have submitted three motions to the Court to approve classification and

     allow distributions on certain claims. Several additional claims were resolved though

     settlements that have been approved by the Court or are currently pending in front of the

     Court Through the date of this Report, the Court has fully or partially adjudicated 4,798

     claims. Since the date of the prior status report and during this reporting period, the

     Receiver has filed four motions to disallow claims and one motion to settle a claim,

     which motions were subsequently approved by the Court. Two claims were voluntarily

     withdrawn by claimants following discussions with Receivership professionals. The

     Receiver anticipates that the remaining claims will be presented to the Court for

     resolution shortly.

26
         Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22    Page 29 of 199


            Through June 30, 2022:

                   4,857 Notices of Receiver's Initial Determination ("NOD") were mailed or

                    emailed out by the Receivership (including 4,830 original NODs and 27

                    replacement NODs that were finalized and sent out during the reporting

                    period)

                   338 individual claim submissions were received by Epiq (the claims agent)

                    including:

                       o 33 duplicates

                       o 3 claims representing amendments of previously filed claims

                       o 41 late-filed claims

                   3 claims that were submitted prior to the Bar Date Order and the

                    establishment of the claims process.

            Of the 302 non-duplicative individual claims submissions received above, at least

     15 non-duplicative claims did not list any appropriate Aequitas Receivership entity.

     Additionally, 68 of the non-duplicative claims were filed against multiple Aequitas

     Receivership entities. As detailed in the attached Report of Cash Receipts and

     Disbursements (Exhibit B to this Report), for the purpose of consolidated reporting, these

     claims are counted only once. On the individual entity reports, each entity determined on

     a preliminary basis as being named in the claim form has the claim included in its count.

            Based on the initial review of the Receivership staff, the following is a summary of

     non-investor claims filed (or allowed NODs if no claim filed). The Receivership staff is

     continuing to review all submissions to determine the validity of claims. Nothing in the

     summaries should be considered an acceptance or allowance of any claim.




27
                     Case 3:16-cv-00438-JR                            Document 997                    Filed 08/12/22                 Page 30 of 199


                                                  Non-Investor Claims                                               Count
                                                  NODs Mailed                                                         2,770
                                                  Unique claims filed                                                     89

                                                  Less: Claims filed and NOD sent                                           (20)
                                                  Total Non-Investor Claims                                               2,839


         Non-Investor Claim Type                                                                  Count                    Amount as Filed or Allowed
         Non-Officer Former Employees >$12,850                                                             41                              1,438,316
         Non-Officer Former Employees <=$12,850                                                            46                                 384,668
         CarePayment Refund Checks                                                                      2,430                                 183,156
         Campus Student Funding Refund Checks                                                             189                                  61,614
         Taxes                                                                                             43                                 510,261
         Other Claims >$20,000                                                                             15                             88,704,271
         Other Claims <=$20,000                                                                            75                                 248,897
         Total                                                                                          2,839                  $          91,531,183




                                                                        Top Ten Non-Investor Claims

                          Claimant Name                                                                                      Amount
                          Deloitte & Touche LLP7                                                           $                     50,000,000
                          ASFG Inc & TRD Consulting LLC8                                                                         27,381,257
                          Norman Gary Price/Strategic Capital Group                                                               5,638,129
                          CBL Insurance Ltd                                                                                       1,994,000
                          DELL Financial Services LLC                                                                             1,124,865
                          Olaf Janke                                                                                                897,360
                          Akin Gump Strauss Hauer & Feld LLP                                                                        646,127
                          Brian K Rice                                                                                              438,837
                          Salesforce.com Inc.                                                                                       346,478
                          JCPR Inc D/B/A J Connelly                                                                                  65,998
                          Total Top Ten Trade Claims                                                       $                     88,533,050




7 On June 30, 2020, the Receiver executed an amended and restated settlement agreement with Deloitte, by which Deloitte agreed to release its contribution claim effective
 upon Court approval of the settlement.
8 On April 28, 2022, on behalf of the Receivership Entity, the Receiver entered a Settlement Agreement with the Liquidating Trust of the Bankruptcy Estate of Tango Delta Financial,
Inc., (fka American Student Financial Group, Inc. “ASFG”). ASFG and TRD Consulting, LLC (“Joint Claimant”) filed a proof of claim in the receivership in the amount of $27,381,251. The
Liquidating Trust has agreed to release all claims against the Receivership Entity.
28
                    Case 3:16-cv-00438-JR           Document 997   Filed 08/12/22   Page 31 of 199


             V.         Disposition of Assets/Interests

                        A.         Assets/Interests Sold

                        Syncronex, LLC9

                        Syncronex LLC provides technology solutions to the publishing industry via

             multiple products. It offers syncAccess, a cloud-based pay meter solution that helps

             newspaper publishers to develop, configure, own, and evolve mobile and digital

             products.

                        The Receiver, on behalf of each of AH, ACL, ACF, APF, and Aequitas Management,

             LLC (“AM”), (AH, AM, ACL and APF each a “Seller Entity,” and collectively the “Seller

             Entities”), entered into a Purchase Agreement dated as of April 9, 2018, subject to

             approval of this Court, with Silvermine Media Holdings, LLC (“Purchaser”), which

             provides the terms for sale of the Seller Entities’ (a) membership interests in company,

             and (b) their lenders’ interests in certain loans to company (together, the “Assigned

             Interests”, as defined in the Purchase Agreement). The Court issued its Order Granting

             Receiver's Motion To Sell Personal Property To Silvermine Media Holdings, LLC, Free And

             Clear Of Liens, Interests, Claims And Encumbrances relative to the Assigned Interests on

             May 17, 2018 [Dkt. 614] and the sale closed on June 15, 2018, repaying the AH Loan in

             full. Pursuant to the Purchase Agreement, the Purchaser had until September 15, 2018,

             to calculate a purchase price adjustment for operating capital which could result in the

             receipt of additional consideration of up to $75 thousand. On September 14, 2018, the

             Purchaser advised the Receivership that the review of the Closing Balance Sheet had

             concluded and the Losses (as defined in the Purchase Agreement) exceed $75 thousand

             by a substantial margin and, accordingly, the Purchase Price will be reduced by $75

             thousand pursuant to the terms of the Purchase Agreement. Accordingly, the Receiver


9   http://www.syncronex.com/en/
29
         Case 3:16-cv-00438-JR       Document 997       Filed 08/12/22    Page 32 of 199


     has filed suit to recover the $75 thousand plus reasonable costs from Syncronex’s CEO

     based on representations and warranties made by him in conjunction with the Purchase

     agreement. During this reporting period. the parties participated in the court-ordered

     mediation on May 4, 2022 and reached a settlement that resolved all outstanding

     claims between Mr. Michael Pirello and the Receivership Entity. The settlement was

     submitted for Court approval on May 26, 2022 [Dkt. 980] and the motion is under

     advisement.

            B.      Ongoing Asset Monetization and Sales Efforts

             1. Campus Student Funding

            On August 17, 2017, the Court approved Receiver entering into the nationwide

     settlement with Consumer Financial Protection Bureau (CFPB) and thirteen state

     Attorneys General in connection with the Corinthian Colleges private student loan

     portfolio owned by the Receivership (the “Settlement”) [Dkt. 495]. Subsequently, on

     June 12, 2018, the Court approved the Receiver’s Motion for Approval of Proposed

     Settlement with Massachusetts Attorney General. [Dkt. 620]. The Massachusetts

     Settlement, implemented in the form of an Assurance of Discontinuance, became

     effective on June 21, 2018.

            Following the very significant effort expended by the Receivership on the

     implementation of the Settlement at the end of 2017 and in the beginning of 2018,

     which resulted in processing relief in connection with approximately 47 thousand loans,

     the Receiver continued to implement the remaining obligations under the Settlement in

     2018. Subsequently, the Receivership staff and retained professionals continued to

     work with the regulators to address any questions that came up in the course of the

     operations of the portfolio.




30
         Case 3:16-cv-00438-JR        Document 997       Filed 08/12/22    Page 33 of 199


            Additionally, we have continued to maintain a detailed informational website for

     the borrowers in connection with the Settlement. Most of the borrower inquiries are

     being addressed by the servicer but the Receivership also addressed 1,927 borrower

     inquiries directly (through June 30, 2022). In addition to addressing direct borrower

     inquiries, the Receivership staff and retained professionals monitor, review, and respond

     as needed to borrower complaints that are submitted through the CFPB on-line

     consumer complaint portal or through other venues. All these activities are instrumental

     in mitigating the Settlement implementation risk to the Receivership, reducing the

     number of potential borrower complaints, and stabilizing the portfolio.

            To handle potential borrower inquiries related to the 1099 tax forms, the

     Receivership has set up an outsourced call center that handled 2,467 calls, including

     1,080 calls answered by agents, through June 30, 2022 (the rest of the callers chose to

     only listen to a detailed recorded message). The Receivership staff and retained

     professionals continue to work with the call center vendor to review call logs and monitor

     the performance to make sure that the borrowers receive appropriate information.

            In the reporting period, the Receivership team continued to work with the loan

     servicer and help address borrower inquiries. The Receiver is continuing to monitor the

     portfolio performance and evaluate the next steps in connection with the wind down of

     the remaining portfolio.

             2. MotoLease Financial, LLC (“MLF”)

            MLF held subprime consumer leases for motorcycle and other recreational

     vehicles. Through June 30, 2022, the Receiver has collected approximately $16.1

     million on account of the leases owned at the beginning of the Receivership. The

     Receiver is in the process of winding down this portfolio. During this reporting period, on

     June 21, 2022, the Receiver filed a Motion to Abandon All Right, Title, and Interest in

31
                     Case 3:16-cv-00438-JR          Document 997     Filed 08/12/22   Page 34 of 199


              Certain Tangible Personal Property of Motolease Financial, LLC which was granted on

              July 25, 2022.

                          3. Portland Seed Fund (PSF)10

                         Portland Seed Fund is an investment in a local venture capital fund providing

              early-stage capital to Oregon based start-ups. Proceeds from recent monetizations of

              investments by the Fund were distributed to PSF members, including the Receivership,

              in June and August of 2021 and in May of 2022. The cumulative distributions from PSF

              are now greater than the contributions, and additional distributions are expected in the

              future.

                         The Receivership professionals have continued exploring opportunities to

              monetize the remaining PSF interest in the context of the PSF anticipated future wind

              down. At this time, the Receiver intends to hold this asset until further notice.



              VI.        Communications to Interested Parties

                         A.         Ongoing Communication with Investors/Counsel

                         At the outset of the Receivership, to facilitate regular communication regarding

              significant opportunities, challenges and actions, the Receiver formed the Investor

              Advisory Committee (the “IAC”). Particularly with the Court’s approval of the distribution

              plan and resolution of the investors’ actions against the Professional Firm Defendants,

              there is no need for regular meetings with the IAC nor investors’ counsel. However, as

              the Court is aware, the Receiver, his legal counsel, and staff continue to stay in regular

              contact with many IAC members and investors’ counsel, while also responding to

              significant numbers of direct investor inquiries. There has been no request to have a

              formal IAC meeting at this stage of the Receivership.


10   http://portlandseedfund.com/
32
             Case 3:16-cv-00438-JR      Document 997       Filed 08/12/22    Page 35 of 199


               B.     SEC and Other Governmental Agencies

               1. SEC

               We continue to interact and cooperate with the SEC Staff, as required by the

     consent judgement, but there is nothing new to report (other than the developments

     referenced in sections III.B and III.D above).

               2. CSF and CFPB, and State Attorneys General

               Please see section V.B.1 above for the discussion of the Settlement with CFPB

     and fourteen state Attorneys General.

               3. Additional Governmental Agencies

               The Receiver has expended significant efforts to comply with various discovery

     requests from state and federal agencies in conjunction with their investigations. In

     addition, discovery and related disputes in the pending criminal matter, captioned U.S. v.

     Jesenik, et. al., United States District Court for the District of Oregon, Case No. 3:20-cr-

     00228-SI, have required material attention of the Receiver and members of the

     Receiver’s professional team in light of attorney-client privilege and other issues.



     VII.      Lender Relationships

               A.     Retirement of Institutional Debt

               The Receivership Entities and affiliates have retired, generally on discounted

     terms, the entirety of the approximately $104 million of institutional secured debt.



     VIII.     Assets in the Possession, Custody and Control of the Receivership

     Estate

               A.     Cash and Cash Equivalents


33
           Case 3:16-cv-00438-JR                         Document 997                        Filed 08/12/22             Page 36 of 199


             Following the significant distributions made in 2020 and 2021 and collections

     resulting from numerous settlements, the Receiver had cash balances of approximately

     $25.5 million as of June 30, 2022, for the entities included in the Receivership Entity.

             Attached as Exhibit B to this Report is the Report of Cash Receipts and

     Disbursements in the form of the SFAR as prescribed by the SEC. The reports, together

     with the accompanying footnotes and detailed schedules, provide an accounting of the

     Receivership Entity’s cash activities through June 30, 2022.



     IX.     Accrued Professional Fees

             As previously discussed, the Receiver has retained several key professionals to

     assist him in managing the various Aequitas entities, dealing with inquiries and

     investigations from governmental agencies and prosecuting his mandate as the

     Receiver.

             The amounts are preliminary and subject to adjustment based on the interim and

     final fee applications. Detailed time records and supporting documents are being

     supplied to the Commission and fee applications will be filed with the Court for Court

     approval prior to the payment. All professionals, including the Receiver, are working at a

     discount to their standard rates.
             Aequitas Receivership
             Professional Fees & Expenses by Entity (from April 1 to June 30, 2022)

                              Entity                    Fees ($)          Percentage          Expenses ($)       Percentage         Total ($)         Percentage
             Receiver                                     11,550.00               2.7%                       -           0.0%          11,550.00              2.7%
             FTI Consulting                              147,330.50             35.0%                        -           0.0%        147,330.50             34.9%
             Pepper Hamilton [1]                                    -             0.0%                     -            0.0%                    -             0.0%
             Schwabe, Williamson & Wyatt                  252,400.80             60.0%             1,380.54           100.0%          253,781.34             60.1%
             Morrison Foerster                              7,206.00                  1.7%                   -           0.0%            7,206.00              1.7%
             Law Office of Stanley H. Shure (1)                      -                0.0%                   -           0.0%                    -             0.0%
             Snell & Wilmer (1)                                      -                0.0%                   -           0.0%                    -             0.0%
             Parsons Farnell & Grein                        2,108.25                  0.5%                   -           0.0%            2,108.25              0.5%
             Pachulski Stang Ziehl & Jones [1]                       -                0.0%                   -           0.0%                    -             0.0%
             Akin Gump [1]                                           -                0.0%                   -           0.0%                    -             0.0%
             Ater Wynne [1]                                       -                0.0%                    -            0.0%                   -               0.0%
             Total:                                     420,595.55                100%             1,380.54            100%          421,976.09               100%

             [1] Pepper Hamilton, Law Office of Stanley H. Shure, Snell & Wilmer, Pachulski Stang Ziehl & Jones, Akin Gump, and Ater Wynne did not incur fees or
             expenses during the billing period.

34
          Case 3:16-cv-00438-JR        Document 997      Filed 08/12/22    Page 37 of 199




     X.     Receivership Claimants

            In the Initial Report, the Receiver provided a summary compilation of claimants.

     The summary reflected the Aequitas entities where claimants invested/loaned funds.

     On May 15, 2020, the Receiver's Motion to Approve Classification, Allowance of the

     Amount of Claims for Certain Claimants (Administrative Claims, Convenience Class

     Claims, and Former-Employment Claims), and Approving Distributions to Those

     Claimants (“the First Distribution Motion”) [Dkt. 835] was filed together with the

     supporting Declaration of Ronald F. Greenspan (“Greenspan First Distribution

     Declaration”) [Dkt. 836]. The Court subsequently issued its Order Granting Receiver's

     Motion to Approve Classification, Allowance of the Amount of Claims for Certain

     Claimants (Administrative Claims, Convenience Class Claims, and Former-Employment

     Claims), and Approving Distributions to Those Claimants on June 1, 2020 (“the First

     Distribution Order”) [Dkt. 838]. Please refer to the exhibits included in the Greenspan

     First Distribution Declaration for the details of the claims that have been adjudicated as

     part of the First Distribution Order.

            On October 21, 2020, the Receiver's Second Distribution Motion was filed

     together with the supporting Declaration of Ronald F. Greenspan (“Greenspan Second

     Distribution Declaration”) [Dkt. 849]. The Second Distribution Motion was subsequently

     approved by the Court. Please refer to the exhibits included in the Greenspan Second

     Distribution Declaration for the details of the claims that were adjudicated as part of the

     Second Distribution Motion.

            On February 18, 2021, the Receiver filed a Motion to Correct Two Clerical Errors:

     One that Inadvertently Allowed a Claim to CIT Technology Financial Services, Inc. and
35
                      Case 3:16-cv-00438-JR            Document 997   Filed 08/12/22   Page 38 of 199


              One that Failed to Aggregate the Trust Accounts Previously Associated with Shirley K.

              Rippey & Jeffrey L. Rippey, Co-Trustees of the James F. Rippey Trust [Dkt. Nos. 873-875].

              The Motion was approved by Judge Jolie A. Russo on March 7, 2021 [Dkt. 877].

                          On July 19, 2021, the Receiver’s Third Distribution Motion was filed with the

              Court. together with the supporting Declaration of Ronald F. Greenspan (“Greenspan

              Third Distribution Declaration”) [Dkt. 895, 896]. The Third Distribution Motion was

              subsequently approved by the Court. Please refer to the exhibits included in the

              Greenspan Third Distribution Declaration for the details of the claims adjudicated as part

              of the Third Distribution Motion.



              XI.         Summary of the Distribution Plan

                          The Receiver, among other duties, was authorized, empowered, and directed to

              develop a plan for the fair, reasonable, and efficient recovery and distribution of

              Receivership Property for the benefit of investors and creditors (the “Distribution

              Plan”).11 The following describes the significant effort undertaken by the Receiver and

              his staff and retained professionals to advance the Distribution Plan. This Report is not

              intended to establish any presumption(s) regarding distribution of the Receivership

              Property.

                          A.          Qualified Settlement Fund

                          On December 23, 2019, the Receiver filed his Motion For Order To Authorize,

              Approve, And Take Continuing Jurisdiction Over A Qualified Settlement Fund (“QSF”), And

              For Related Relief [Dkt 779]. In relation to effectuating the Distribution Plan, the

              Receiver and his professionals determined that, for tax purposes, a QSF is the best

              vehicle for making distributions to holders of Allowed Claims, including Investors and


11   Receivership Order [Dkt. 156], ¶ 38.
36
                    Case 3:16-cv-00438-JR                           Document 997                   Filed 08/12/22                Page 39 of 199


            other Claimants found to have Allowed Claims. Further, to mitigate certain potential tax

            consequences to the Receivership Estate under Oregon law, the Receiver requested the

            creation and transfer of assets to the QSF to be approved by the Court before January 1,

            2020. The Receiver and his professionals estimate the potential tax savings to the

            Receivership Estate from implementing the QSF at upwards of $2 million.12

                        The requested QSF motion was so ordered on December 23, 2019 [Dkt 781].

                        B.          Distribution Plan

                        On December 31, 2019, the Receiver filed the Motion To Approve The Receiver’s

            Distribution Plan And Determination Of A Ponzi Scheme [Dkt 787]. In conjunction with

            his request for the finding of a Ponzi scheme, the Receiver moved the Court to approve a

            Distribution Plan that contains interrelated components and compromises that he

            believes provides the most equitable treatment of Allowed Claims and the equitable

            distribution of funds. Impacted parties are urged to read the Distribution Plan in its

            entirety and is available for review at the Aequitas Receiver’s website

            (www.kccllc.net/aequitasreceivership) and the Receiver’s Claims Agent website

            (http://www.AequitasClaims.com).

                        For tax and other distribution purposes, the Receiver has allocated the

            distribution between the Defrauded Investors’ multiple accounts based on each

            account’s relative Net Investment Loss. For further information regarding the

            aggregation of accounts, please see Article VI.E of the Distribution Plan Motion.

                        C.           Findings of Fact and Conclusions of Law

                        The Court entered its Findings of Fact and Conclusions of Law on March 31, 2020

            [Dkt. 813]. In its Order, among other things, the Court:

                                    Approved the Distribution Plan as expressly modified by the Receiver;


12 Following additional tax planning work related to the possible tax treatment on cancellation of debt income under the “Corporate Activity Tax” (the “CAT”),newly created under

Oregon House Bill (“HB”) 3427 and HB 2164, the estimated tax impact was increased to approximately $2 million from the initial estimate of in excess of $1 million.
37
         Case 3:16-cv-00438-JR          Document 997      Filed 08/12/22     Page 40 of 199


                    Overruled any objections to the Receiver’s Distribution/Ponzi
                     Determination Motion that had not been withdrawn, waived, settled, or
                     expressly reserved pursuant to the terms of the Order;

                    Permitted the Receiver to commence with distributions consistent with
                     the terms of the Distribution Plan without further order by the Court,
                     noting that all distributions shall be free and clear of any and all liens,
                     claims, interests, and encumbrances;

                    Directed each Defrauded Investor and other Claimant to cooperate and
                     supply such information and documentation as is requested by the
                     Receiver and his professionals to effectuate the Distribution Plan; and

                    Made the Order binding in all respects on all creditors and interest
                     holders of the Receivership Entity and their successors and assigns.

            D.       Distribution Plan Noticing

            In the first quarter of 2020, at least 4,796 Distribution Plan notices were sent to

     the parties based on the form and matter of notice that had been approved by the Court.

     The Receivership professionals worked closely with KCC, the host of the main

     Receivership website, and with Epiq, the noticing agent, to update relevant information

     provided to the public on the Receivership websites.

            E.       The First Distribution

            In connection with the First Distribution Motion, on May 8, 2020, the Receiver

     provided conferral notices to counsel and mailed notices to 2,674 parties whose claims

     were resolved as part of the First Distribution.

            As discussed earlier in the Report, the First Distribution Order was entered by the

     Court on June 1, 2020. The table below summarizes the First Distribution

     disbursements.




38
         Case 3:16-cv-00438-JR           Document 997         Filed 08/12/22       Page 41 of 199


             Claims Paid -1st Interim Distribution                Count        Amount
             Administrative Class Claims                           429          $86,010
             Non-Officer Former Employees Claims                    78         $797,722
             Convenience Class Claims                              336          $90,065
             Total Receivership Distributions                      843         $973,797
             Expired and Uncashed Distributions
                                                                  (266)        ($32,253)
                 - funds returned to the QSF
             Net Receivership Distributions                        577         $941,544


            F.     The Second Distribution

            As discussed above, the Second Distribution Order was entered by the Court on

     November 10, 2020. Distributions to Defrauded Investors were made to counsel

     representing the Albers, Wurster, and Pommier litigation groups, to investment

     custodians, or directly to Defrauded Investors, as applicable. The table below

     summarizes the Second Distribution disbursements.

            Claims Paid - 2nd Interim Distribution                  Count        Amount
            Administrative Class Claims                               8               $958
            Non-Officer Former Employees Claims                       4             $49,546
            Convenience Class Claims                                 36             $18,689
                                           1,2
            Defrauded Investor Claims                               1652        $73,403,642
            Total Receivership Distributions                        1700        $73,472,835
            Expired and Uncashed Distributions
                                                                     (21)             ($5,131)
               – funds returned to the QSF
            Net Receivership Distributions                          1679        $73,467,704
            1.Reduced by Net Winner Offsets as applicable
            2. The count has been adjusted compared with the prior Report to better reflect the
            number of claims that have received a distribution. Certain such claims included
            multiple accounts that received separate distribution payments. The current count
            aggregates the separate payments related to a given claim and counts them as one.


            G.     The Third Distribution

            As discussed earlier in the Report, on July 19, 2021, the Receiver filed the Third

     Distribution Motion with the Court. By way of the Third Distribution Motion, the Receiver

     recommended distributions totaling approximately $22 million. The Third Distribution


39
            Case 3:16-cv-00438-JR      Document 997       Filed 08/12/22     Page 42 of 199


     Motion was approved by the Court on August 5, 2021. The table below summarizes the

     Third Distribution disbursements.

              Claims Paid - 3rd Interim Distribution        Count      Amount
              Administrative Class Claims                     13           $5,437
              Convenience Class Claims                        8           $21,524
              Defrauded Investor Claims                     1667      $22,019,424
              Total Receivership Distributions               1688     $22,046,385



              H.     Lux Settlement Implementation and Funds Release

              In prior quarterly Reports, the Receiver has addressed the claims resolution with

     the Lux Parties. The settlement was approved by the Court on December 11, 2020 [Dkt.

     866]. Throughout 2021, the Receivership staff and retained professionals worked with

     the Lux Parties and their counsel on finalizing the implementation of the Court-approved

     settlement, including but not limited to Aequitas Commercial Finance LLC resigning as

     the grantor of the ACC Funding Series Trust 2015-5 (“ACC Trust”) and ACC Trust

     releasing the funds held in a segregated bank account. The Lux settlement transactions

     were finalized effective November 24, 2021, with approximately $9.3 million released

     shortly thereafter.



     XII.     Timeline and Future Interim Distributions

              As discussed more fully in the Report, the Receiver has made very substantial

     progress in actively recovering, stabilizing and monetizing assets, consolidated and

     rationalized the terabytes of electronic data and facilitated access by litigating parties,

     effected settlements with multiple governmental agencies and major claimants,

     completed the principal forensic investigation, organized and facilitated an exhaustive

     and exceedingly successful mediation process that resulted in recovery of a significant

     portion of Investor losses, implemented the claims process and obtained Court approval
40
         Case 3:16-cv-00438-JR         Document 997       Filed 08/12/22      Page 43 of 199


     for the Distribution Plan. The Receiver has also obtained Court approval for the First,

     Second, and Third Distributions and has fully implemented all three interim distributions.

            While it is difficult to provide a definitive timeline for the completion of the

     concluding phases of the Receivership, culminating in the final round of distributions on

     Allowed Claims and Court-ordered termination of the receivership, the Receiver

     reasonably anticipates the vast majority of the remaining tasks will be completed in

     2022. The precise timing of any subsequent distributions is largely dependent upon

     when the claims resolution process and the remaining recovery lawsuits are concluded

     and their respective outcomes.




41
             Case 3:16-cv-00438-JR    Document 997     Filed 08/12/22   Page 44 of 199


        Exhibits

     A. Aequitas Entity Structure

     B. Report of Cash Receipts and Disbursements (Standardized Fund Accounting Report)

     C. Acronyms Glossary




42
Case 3:16-cv-00438-JR   Document 997   Filed 08/12/22   Page 45 of 199




                        Exhibit A
                                                                 Case 3:16-cv-00438-JR                                            Document 997                               Filed 08/12/22                            Page 46 of 199



                                    Aequitas Entity Structure
                                                                                                                                          83.6%                  Aequitas
                                                         Aequitas Operating Entity                                                      Ownership             Management, LLC
  Ownership Relationship                                                                                                               100% Control                (OR)
  Trust Beneficiary Relationship                         Aequitas Managed Fund
  Investment Advisory Relationship                       Private Credit                                                        Aequitas
                                                                                                                              Holdings, LLC                               100%
                                                         Private Equity                                                           (OR)
                                                         Other                                                                                                     Executive
                                                                                                                                                                   Falcon, LLC
                                                         On Chart in Other Area                                                                                       (OR)


                                                                                        100%                                                                    100%                                100%                                          100%                   100%
                                                                                                                                                                                                                                                                  Aequitas
                                                                                                                                                      Aequitas Capital                                                                      Aequitas
                                                                                 Aequitas                                                                                                    Aequitas                                                              Income
                                                                                                                                                      Management, Inc.                                                                    Private Client
                                                                                Commercial                                                                                                   Enterprise                                                          Opportunity
                                                                                                                                                           (OR)                                                                             Fund, LLC
                                                                                Finance, LLC                                                                                                Services, LLC                     ~12.6%                              Fund, LLC
                                                                                                                                                                                                                                               (DE)
                                                                                    (OR)                                                                                                        (DE)                                                                 (OR)

                   100%            100%                       100%               100%              100%           100%                          100%               2.7%                 75%                                                          100%

                ACC           Aequitas                                                                                                                      Spouting           Aequitas                                                            Aequitas
               C Plus        Peer‐To‐Peer              CarePayment Campus Student ACC F Plus               ML Financial                Executive                                Capital    25%                      Pipeline Health
                                                                                                                                                          Rock Financial                                             Holdings, LLC                Investment
            Holdings, LLC    Funding, LLC              Holdings, LLC Funding, LLC Holdings, LLC            Holdings, LLC              Citation, LLC                          Opportunities
                                                                                                                                                          Partners, LLC         GP, LLC                                   (DE)                  Management, LLC
                (DE)             (DE)                      (DE)         (OR)          (DE)                     (DE)                       (OR)                                                                                      Aequitas                                                        Campus
                                                                                                                                                              (DE)               (DE)                                                                (OR)
                                                                                                                                                                                                                                   Commercial                                                       Student
                   100%                                                                                                                                                    GP; 1% LP                                               Finance, LLC                                                   Funding, LLC
                                                      100%      100%                               100%            100%                  3.6%                                                             12.6%

                ACC                           CarePayment,      CP Funding I                 ACC         MotoLease                  51.9%
           Holdings 2, LLC                         LLC          Holdings, LLC           Holdings 1, LLC Financial, LLC                                                                                29.2%              100%                 15.4%                                   10%             8%
                                                                                                                                                                                                                                                                 <.1%
                (DE)                              (OR)              (DE)                     (DE)           (OR)                                                              Aequitas 14%
                                                                                                                                                                             Holdings, LLC                          Aequitas                                                                                  46.3%
                                                                                                                                      Aequitas Capital                                                                                Aequitas                                 Aequitas            Aequitas
                                                                                                                                       Opportunities
                                                                                                                                                                                              Aequitas               Income
                                                                                                                                                                                                                                    ETC Founders
                                                                                                                                                                                                                                                 11% Aequitas                  Enhanced             Income
                                                                                                                                                                                           Hybrid Fund, LLC        Opportunity                      WRFF I, LLC
                                                                                                                                         Fund, LP                                                                                     Fund, LLC                            Income Fund, LLC        Protection
                                                                                                                                                                                                 (OR)              Fund II, LLC                        (DE)
                                                                                                                                           (DE)                                                                                         (DE)                                     (DE)              Fund, LLC
            ACC Funding                                                                                                                                                                                                (DE)
                                                                 CP Funding              ACC Funding                                                                                                                                                             LP                                   (DE)
            Trust 2014‐2                                                                                                                                                                                                                     28.9%                                    100%
                (DE)                                               I Trust               Trust 2014‐1
                                                                     (DE)                    (DE)                                                                                                                                                       Window Rock/
                                                                                                                                                                                                                                                                            Aequitas EIF
                                                                                                               17.9%                 92.1%                   79%                 23%              4.9%                25%         24.3%               Aequitas Residential
                                                                                                                                                                                                                                                                           Debt Fund, LLC
                                                                                                                                                                                                                                                      Recovery Fund, L.P.
                            100%             100%      100%                                                                                                                                                                                                                     (DE)
                                                                                                                                                                                                                                                             (DE)
                                                                                                                             CarePayment                                                   Alternative
                                                                                                    QuarterSpot, Inc.                                    EDPlus        MotoLease,                                SCA              ETC Global                                  100%
                                                                                                                           Technologies, Inc.                                                Capital
                  Unigo Student        The Hill       Aequitas Senior                                     (DE)                                        Holdings, LLC        LLC                               Holdings, LLC        Group, LLC
                                                                                                                                 (OR)                                                     Advisers, LLC
                   Funding, LLC       Land, LLC        Housing, LLC                                                                                       (OR)            (DE)                                   (WA)                (DE)
                                                                                                                                                                                               (DE)                                                                       APF
                      (DE)              (OR)               (DE)
                                                                                                                                                                                                                                                                      Holdings, LLC
                                                                                                                                                                                                                                                                          (OR)
                                                                                                                                                                                         7.1%               100%        75%                         9.9%
                  100%               100%                 100%                  LP             100%               100%                            100%                                                                                                                       83.6%
                                                                                                                                                                                 MOGL Loyalty                                              Independence
                               Aequitas              Aequitas                                    Aequitas         Aequitas Asset                    Aequitas                                          Strategic
               ACC                                                    Portland Seed                                                                                              Services, Inc.                       Argentus            Bancshares, Inc.            Aequitas
                               Corporate              Wealth                                   International       Management                    Senior Housing                                        Capital
          Holdings 5, LLC                                              Fund II, LLC                                                                                                  (DE)                           Partners, LLC               (SC)              Partner Fund, LLC
                              Lending, LLC        Management, LLC                              Holdings, LLC       Oregon, LLC                   Operations, LLC                                  Alternatives, LLC
               (DE)                                                        (DE)                     (DE)                                                                                                                                                                (OR)
                                 (OR)                  (DE)                                                           (DE)                            (DE)
                                                                                                                           100%
                                        100%              80%           60%                           GP                                        32.9%      32.9%                                                                             80.3%                95.4%                 5.9%         100%
                                                                                                                    AAM Fund
                                                                                                                 Investment, LLC                                                                          Aequitas
                                                                                                                                                                                                                       8.1%         Marketing
           ACC Funding                                                                                                 (DE)                                                                              Holdings, LLC                                        Skagit
                               Aequitas Wealth                  Aspen Grove                   Aequitas                                                                                                                                Services
           Series Trust                          Hickory Growth                                                                        Ledgestone     Ledgestone                                                                                           Gardens, Inc.        Cana’s Feast         Syncronex,
                                 Management                         Equity                  International                                                                                                                          Platform, Inc.
             2015‐5                               Partners, LLC                                                             100%     Management, LLC Holdings, LLC                                                                                             (WA)             Winery, L.L.C.           LLC
                               Partner Fund, LLC                Solutions, LLC            Opportunities LP                                                                                                                              (DE)
               (DE)                                   (DE)                                                                                (DE)           (DE)                                                                                                                      (OR)                 (DE)
                                     (DE)                            (OR)                 (Cayman Islands)
                                                                                                                   Innovator
                                                                                                                  Holdings, LLC
                                                                              68.2%                                   (DE)                                         100%                                                           100%          100%                          ~3%                   ~3%
NOTE: Does not include inactive                                                                                                                                                                                                                                                               Certified
and non‐operating entities                                          Private Advisory
                                                                                                                            51%
                                                                                                                                                            Ledgestone                                                      Ivey
                                                                                                                                                                                                                                                  Gridbox          Cloudward, Inc.             Security
                                                                       Group, LLC                                                                            Property                                                   Performance                                     (DE)                Solutions, Inc.
                                                                                                                   Innovator                                                                                                                     Media, LLC
                                                                          (WA)                                                                                 (DE)                                                     Marketing, LLC                                                           (OR)
                                                                                                                Management, LLC                                                                                                                    (DE)
                                                                                                                                                                                                                            (OR)
                                                                                                                      (DE)
Case 3:16-cv-00438-JR   Document 997   Filed 08/12/22   Page 47 of 199




                        Exhibit B
          Case 3:16-cv-00438-JR                          Document 997                  Filed 08/12/22                Page 48 of 199




                                   Report of Cash Receipts and Disbursements
                                     (Standardized Fund Accounting Report)

Table of Contents
CONSOLIDATED AEQUITAS RECEIVERSHIP ENTITIES ................................................................................... 1
   SUBSCHEDULE ........................................................................................................................................... 4
AEQUITAS QUALIFIED SETTLEMENT FUND IRREVOCABLE TRUST (QSF)..................................................... 6
   SUBSCHEDULE ........................................................................................................................................... 9
AEQUITAS MANAGEMENT, LLC (AM) ....................................................................................................... 11
AEQUITAS HOLDINGS, LLC (AH) ................................................................................................................ 14
   SUBSCHEDULE ......................................................................................................................................... 17
AEQUITAS COMMERCIAL FINANCE, LLC (ACF) .......................................................................................... 18
AEQUITAS CAPITAL MANAGEMENT, INC (ACM) ...................................................................................... 21
AEQUITAS INVESTMENT MANAGEMENT, LLC (AIM) ................................................................................ 24
AEQUITAS ENTERPRISE SERVICES, LLC (AES) ............................................................................................ 27
   SUBSCHEDULE ......................................................................................................................................... 30
AAM FUND INVESTMENT, LLC (AAMFI) .................................................................................................... 31
ACC C PLUS HOLDINGS, LLC (ACCCPH) ...................................................................................................... 34
ACC F PLUS HOLDINGS, LLC (ACCFPH) ....................................................................................................... 37
ACC C FUNDING SERIES TRUST 2015-5 (ACCFST-5) ................................................................................... 40
ACC C FUNDING TRUST 2014-1 (ACCFT-1) ................................................................................................ 43
ACC C FUNDING TRUST 2014-2 (ACCFT-2) ................................................................................................ 46
ACC HOLDINGS 1, LLC (ACCH1) .................................................................................................................. 49
ACC HOLDINGS 2, LLC (ACCH2) .................................................................................................................. 52
ACC HOLDINGS 5, LLC (ACCH5) .................................................................................................................. 55
AEQUITAS ASSET MANAGEMENT OREGON, LLC (AMO) .......................................................................... 58
AEQUITAS CAPITAL OPPORTUNITIES FUND, LP (COF) .............................................................................. 61
AEQUITAS CAPITAL OPPORTUNITIES GP, LLC (COF, GP) .......................................................................... 64
AEQUITAS CORPORATE LENDING, LLC (ACL) ............................................................................................ 67
AEQUITAS EIF DEBT FUND, LLC (EIFDF) ..................................................................................................... 70
AEQUITAS ENHANCED INCOME FUND, LLC (EIF) ...................................................................................... 73
AEQUITAS ETC FOUNDERS FUND, LLC (ETC) ............................................................................................. 76
AEQUITAS HYBRID FUND, LLC (HYBRID) ................................................................................................... 79
AEQUITAS INCOME OPPORTUNITY FUND II, LLC (IOFII) ........................................................................... 82
          Case 3:16-cv-00438-JR                         Document 997                  Filed 08/12/22                Page 49 of 199




AEQUITAS INCOME OPPORTUNITY FUND, LLC (IOF) ................................................................................ 85
AEQUITAS INCOME PROTECTION FUND, LLC (IPF) ................................................................................... 88
AEQUITAS INTERNATIONAL HOLDINGS, LLC (AIH) ................................................................................... 91
AEQUITAS PARTNER FUND, LLC (APF) ...................................................................................................... 94
AEQUITAS PEER-TO-PEER FUNDING, LLC (AP2PF) .................................................................................... 97
AEQUITAS PRIVATE CLIEND FUND, LLC (PCF) ......................................................................................... 100
AEQUITAS SENIOR HOUSING OPERATIONS, LLC (ASHO) ....................................................................... 103
AEQUITAS SENIOR HOUSING, LLC (ASH) ................................................................................................. 106
AEQUITAS WEALTH MANAGEMENT PARTNER FUND, LLC (AWMPF) .................................................... 109
AEQUITAS WEALTH MANAGEMENT, LLC (AWM) ................................................................................... 112
AEQUITAS WRFF I, LLC (AWRFFI) ............................................................................................................ 115
ASPEN GROVE EQUITY SOLUTIONS, LLC (AGES) ..................................................................................... 118
CAMPUS STUDENT FUNDING, LLC (CSF) ................................................................................................. 121
   SUBSCHEDULE ....................................................................................................................................... 124
CAREPAYMENT HOLDINGS, LLC (CPH) .................................................................................................... 125
CAREPAYMENT, LLC (CPLLC) .................................................................................................................... 128
CP FUNDING I HOLDINGS, LLC (CPFIH) .................................................................................................... 131
HICKORY GROWTH PARTNERS, LLC (HICKORY) ...................................................................................... 134
ML FINANCIAL HOLDINGS, LLC (MLFH) ................................................................................................... 137
MOTOLEASE FINANCIAL, LLC (MLF) ........................................................................................................ 140
THE HILL LAND, LLC (HILL LAND) ............................................................................................................. 143
UNIGO STUDENT FUNDING, LLC (USF) .................................................................................................... 146
                      Case 3:16-cv-00438-JR                  Document 997           Filed 08/12/22          Page 50 of 199




                STANDARDIZEDFUNDACCOUNTINGREPORTforConsolidatedAequitasReceivershipEntitiesͲCashBasis
                                          Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                           REPORTINGPERIOD04/01/2022TO06/30/2022

FUNDACCOUNTING(SeeInstructions):                                       CurrentReportingPeriod04/01/22to06/30/22   03/16/16to06/30/22
                                                                             Detail           Subtotal       GrandTotal       CasetoDate
Line1          BeginningBalance                                                                           $25,046,720.70        $15,934,912.86
                IncreasesinFundBalance:
Line2          BusinessIncome                                                       Ͳ                 Ͳ                        $14,070,455.54
Line3          CashandSecurities                                        $597,476.14       $597,476.14                        $218,831,030.56
Line4          Interest/DividendIncome                                     $10,240.70        $10,240.70                         $2,781,345.73
Line5          BusinessAssetLiquidation                                 $123,536.21       $123,536.21                        $325,125,489.75
Line6          PersonalAssetLiquidation                                            Ͳ                 Ͳ                                     Ͳ
Line7          ThirdͲPartyLitigation                                    $1,272,697.33     $1,272,697.33                        $14,874,019.01
Line8          MiscellaneousͲOther                                                 Ͳ                 Ͳ                         $3,156,846.76
                TotalFundsAvailable(Lines1Ͳ8):                                          $2,003,950.38    $27,050,671.08     $594,774,100.21
                DecreasesinFundBalance:
Line9          DisbursementstoClaimants                                     $21,420.83     $21,420.83        $21,420.83      $211,052,224.98
Line10         DisbursementsforReceivershipOperations
Line10    InternalTransfers/Loans                                    $597,476.14                                       $179,599,016.56
Line10a   DisbursementstoReceiverorOtherProfessionals              $202,327.11                                        $24,824,311.20
Line10b   BusinessAssetExpenses                                       $554,081.86                                        $73,752,394.93
Line10c   PersonalAssetExpenses                                                 Ͳ                                                     Ͳ
Line10d   HospitalSettlements&InvestmentExpenses                       $180.00                                         $72,069,466.77
Line10e   ThirdͲPartyLitigationExpenses                                         Ͳ                                          $879,193.38
                1.AttorneyFees                                           $118,745.00
                2.LitigationExpenses                                               Ͳ
                TotalThirdͲpartyLitigationExpenses                                       $118,745.00
Line10f   TaxAdministratorFeesandBonds                                        Ͳ                                                     Ͳ
Line10g   FederalandStateTaxPayments                                  $8,155.10                                           $413,756.99
                TotalDisbursementsforReceivershipOperations                             $1,480,965.21     $1,480,965.21     $351,538,139.83
                DisbursementsforDistributionExpensesPaidbythe
Line11
                Fund:
Line11    DistributionPlanDevelopmentExpenses                                  Ͳ                                                     Ͳ
Line11a   DistributionPlanDevelopmentExpenses:                                 Ͳ                                           $909,270.80
                1.Fees:                                                            Ͳ
                FundAdministrator                                        Ͳ
                IndependentDistributionConsultant(IDC)                 Ͳ
                DistributionAgent                                        Ͳ
                Consultants                                               Ͳ
                LegalAdvisers                                            Ͳ
                TaxAdvisers                                              Ͳ
                2.AdministrativeExpenses                                          Ͳ
                3.Miscellaneous                                                    Ͳ
                TotalPlanDevelopmentExpenses                                                         Ͳ
Line11b   DistributionPlanImplementationExpenses:                              Ͳ                                          $5,768,960.41
                1.Fees:                                                            Ͳ
                FundAdministrator                                        Ͳ
                IDC                                                       Ͳ
                DistributionAgent                                        Ͳ
                Consultants                                       $3,498.00
                LegalAdvisers                                   $37,754.80
                TaxAdvisers                                              Ͳ
                2.AdministrativeExpenses                                          Ͳ




                                                                          1
                      Case 3:16-cv-00438-JR                 Document 997          Filed 08/12/22             Page 51 of 199



                3.InvestorIdentification:                                       Ͳ
                Notice/PublishingApprovedPlan                 $1,528.05
                ClaimantIdentification                                 Ͳ
                ClaimsProcessing                                       Ͳ
                WebSiteMaintenance/CallCenter                        Ͳ
                4.FundAdministratorBond                                        Ͳ
                5.Miscellaneous                                                  Ͳ
                6.FederalAccountforInvestorRestitution(FAIR)
                                                                                       Ͳ
                ReportingExpenses
                TotalPlanImplementationExpenses                                             $42,780.85
                TotalDisbursementsforDistributionExpensesPaidby
                                                                                               $42,780.85        $42,780.85            $6,678,231.21
                theFund
Line12         DisbursementstoCourt/Other:
Line12    DisbursementstoCourt                                                 Ͳ                                                              Ͳ
                InvestmentExpenses/CourtRegistryInvestment
Line12a                                                                          Ͳ                                                              Ͳ
                System(CRIS)Fees
Line12b   FederalTaxPayments                                              Ͳ                                                          Ͳ
                TotalDisbursementstoCourt/Other:                                                      Ͳ                 Ͳ                      Ͳ
                TotalFundsDisbursed(Lines9Ͳ12):                                                            $1,545,166.89        $569,268,596.02
Line13         EndingBalance(Asof06/30/22):                                                              $25,505,504.19         $25,505,504.19
Line14         EndingBalanceofFundͲNetAssets:
Line14a   Cash&CashEquivalents                                                                    $25,505,504.19          $25,505,504.19
Line14b   Investments                                                                                             Ͳ                       Ͳ
Line14c   OtherAssetsorUnclearedFunds                                                                         Ͳ                       Ͳ
                TotalEndingBalanceofFundͲNetAssets                                                $25,505,504.19          $25,505,504.19

                OTHERSUPPLEMENTALINFORMATION:                           04/01/22to 06/30/22                             03/16/16to06/30/22
                                                                              Detail         Subtotal        GrandTotal          CasetoDate
                ReportofItemsNOTToBePaidbytheFund:
                DisbursementsforPlanAdministrationExpensesNot
Line15
                PaidbytheFund:
Line15    DisbursementsforPlanAdministrationExpenses                         Ͳ                                                              Ͳ
Line15a   PlanDevelopmentExpensesNotPaidbytheFund:                     Ͳ                                                              Ͳ
                1.Fees:                                                           Ͳ
                FundAdministrator                                        Ͳ
                IDC                                                      Ͳ
                DistributionAgent                                       Ͳ
                Consultants                                              Ͳ
                LegalAdvisers                                           Ͳ
                TaxAdvisers                                             Ͳ
                2.AdministrativeExpenses                                         Ͳ
                3.Miscellaneous                                                   Ͳ
                TotalPlanDevelopmentExpensesNotPaidbytheFund                                     Ͳ
Line15b   PlanImplementationExpensesNotPaidbytheFund:                  Ͳ                                                              Ͳ
                1.Fees:                                                           Ͳ
                FundAdministrator                                        Ͳ
                IDC                                                       Ͳ
                DistributionAgent                                        Ͳ
                Consultants                                               Ͳ
                LegalAdvisers                                            Ͳ
                TaxAdvisers                                              Ͳ
                2.AdministrativeExpenses                                         Ͳ
                3.InvestorIdentification:                                        Ͳ
                Notice/PublishingApprovedPlan                              Ͳ
                ClaimantIdentification                                      Ͳ




                                                                          2
                          Case 3:16-cv-00438-JR                      Document 997                Filed 08/12/22                Page 52 of 199



                  ClaimsProcessing                                                         Ͳ
                  WebSiteMaintenance/CallCenter                                          Ͳ
                      4. FundAdministratorBond                                                      Ͳ
                      5. Miscellaneous                                                                Ͳ
                      6. FAIRReportingExpenses                                                      Ͳ
                    TotalPlanImplementationExpensesNotPaidbythe
                                                                                                                           Ͳ
                  Fund
Line15c     TaxAdministratorFees&BondsNotPaidbytheFund                                 Ͳ
                  TotalDisbursementsforPlanAdministrativeExpenses
                                                                                                                           Ͳ                   Ͳ                            Ͳ
                  NotPaidbythefund
Line16           DisbursementstoCourt/OtherNotPaidbytheFund:
Line16a     InvestmentExpenses/CRISFees                                          Ͳ
Line16b     FederalTaxPayments                                                   Ͳ
                  TotalDisbursementstoCourt/OtherNotPaidbythe
                                                                                                                           Ͳ                   Ͳ                            Ͳ
                  Fund:
Line17           DC&StateTaxPayments                                                             Ͳ                    Ͳ                                                Ͳ
Line18           No.ofClaims:
Line18a     #ofClaimsReceivedThisReportingPeriod                                                                                                            Ͳ
Line18b     #ofClaimsReceivedSinceInceptionofFund1                                                                                                    5,171
Line19           No.ofClaimants/Investors:
Line19a     #ofClaimants/InvestorsPaidThisReportingPeriod2                                                                                                2
Line19b     #ofClaimants/InvestorsPaidSinceInceptionofFund3                                                                                           2,587


1.   Thisnumberincludes:
         4,830NoticesofReceiver'sInitialDetermination("NOD")thatweremailedoremailedoutbytheReceivership
         338individualclaimsubmissionsreceivedbyEpiqthroughJune30,2022including:
                o    33duplicates
                o    3claimsrepresentingamendmentsofpreviouslyfiledclaims
                o    41lateͲfiledclaims
                o    2claimssubmittedpriortotheBarDateOrderandprovidedtotheReceivershipduringQ1’21
         3claimsthatweresubmittedpriortotheBarDateOrderandtheestablishmentoftheclaimsprocess

     Ofthe302nonͲduplicativeindividualclaimssubmissionsreceivedabove,atleast15nonͲduplicativeclaimsdidnotlistanyappropriateAequitasReceivership
     entities.Such15claimsareincludedontheConsolidatedReport,howevertheyarenotincludedintheindividualentityreports.
     Additionally, 68of thenonͲduplicative claimswere filed against multiple AequitasReceivership entities. For the purposeof theConsolidated Report,these
     claimsarecountedonlyonce.Ontheindividualentityreports,eachentitydeterminedonapreliminarybasisasbeingnamedintheclaimformhastheclaim
     includedinitscount.TheReceivershipstaffisfinalizingthereviewofallsubmissionstodeterminethevalidityofclaims.

2.   RepresentsnumberofclaimspaidthisreportingperiodtocertainAdministrativeclaimantsandCreditorclaimantswhoconvertedtoConvenienceclass,
     consistentwithCourtOrder,Dkt.#957.

3.   Ofthereportedtotalof2,587paidclaimants,1,652DefraudedInvestorshavereceivedtwointerimdistributions.Atotalof287checksfrompriordistributions
     wereundeliverableornotcashedwithin180days,thereforehavebeencanceledperthetermsoftheDistributionPlan.


                                                                                                                     Receiver:
                                                                                                                     By:
                                                                                                                               (signature)
                                                                                                                               RonaldF.Greenspan
                                                                                                                               (printedname)

                                                                                                                               Receiver
                                                                                                                               (title)
                                                                                                                     Date: August 1, 2022




                                                                                       3
                                  Case 3:16-cv-00438-JR                            Document 997                                      Filed 08/12/22                                          Page 53 of 199


                                                                   SubscheduleforConsolidatedReceivershipEntitiesͲCashBasis
                                                                                 Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                                                                    ReportingPeriod04/01/2022to06/30/2022


FUNDACCOUNTING:
                                                                                                          Subcategory                                              Detail                             Subtotal                           GrandTotal                    Reference
Line1        BeginningBalance(Asof04/01/2022):                                                                                                                                                                               25,046,720.70
              IncreasesinFundBalance:
Line2        BusinessIncome                                                                  Ͳ   Ͳ Ͳ
Line3        CashandSecurities                                                              Ͳ   597,476.14 597,476.14                                                                 1
                 InternalTransfers/LoanFrom:
                    AequitasQualifiedSettlementFundIrrevocableTrust                       322,000.00
                    AequitasHoldings,LLC                                                     275,476.14
Line4        Interest/DividendIncome                                                         10,240.70            10,240.70 10,240.70                                                               2
Line5        BusinessAssetLiquidation                                                       41,061.89            123,536.21 123,536.21                                                                 3
                 Collections:
                    CampusStudentFunding,LLC                                                82,474.32
Line6        PersonalAssetLiquidation                                                       Ͳ   Ͳ Ͳ
Line7        ThirdͲPartyLitigationIncome                                                    1,272,697.33               1,272,697.33 1,272,697.33                                                                   4
Line8        MiscellaneousͲOther                                                            Ͳ   Ͳ Ͳ
              TotalFundsAvailable(Lines1Ͳ8):                                                                                                                                         2,003,950.38 27,050,671.08
              DecreasesinFundBalance:
Line9        DisbursementstoClaimants                                                       Ͳ   21,420.83 21,420.83 21,420.83                                   5
                 DisbursementstoAdministrativeClassClaimants                               17,420.83
                 DisbursementstoConvenienceClassClaimants                                  4,000.00
Line10        DisbursementsforReceivershipOperations
      Line10 InternalTransfers/LoansTo:                                                  Ͳ   597,476.14                                                                                           6
                 AequitasQualifiedSettlementFundIrrevocableTrust                          275,476.14
                 AequitasEnterpriseServices,LLC                                             322,000.00
     Line10a DisbursementstoReceiverorOtherProfessionals                                 Ͳ   202,327.11                                                                                           7
                 Receiver/FTIConsulting                                                       148,870.40
                 LegalAdvisers                                                                53,456.71
     Line10b BusinessAssetExpenses                                                          Ͳ   554,081.86                                                                                           8
                 ServicingFees                                                                10,563.00
                 InsuranceExpenses                                                            11,636.17
                 ITExpenses                                                                   174,724.39
                 EmployeePayroll/BenefitExpenses                                             338,877.44
                 Rent/OfficeSupplies                                                          13,288.78
                 Miscellaneous                                                                 4,992.08
     Line10c PersonalAssetExpenses                                                          Ͳ   Ͳ
     Line10d HospitalSettlements&InvestmentExpenses                                       Ͳ   180.00
                 BankingFees                                                                  180.00
     Line10e ThirdͲPartyLitigationExpenses                                                  Ͳ
              1.AttorneyFees                                                           118,745.00                                                                                                                                 9
              TotalThirdͲPartyLitigationExpenses                                                                                                    118,745.00
     Line10f TaxAdministratorFeesandBonds                                                 Ͳ   Ͳ
     Line10g FederalandStateTaxPayments                                                    7,850.10           8,155.10                                                                                        10
                 StateFilingFees                                                             305.00
              TotalDisbursementsforReceivershipOperations                                                                                                                              1,480,965.21 1,480,965.21
Line11       DisbursementsforDistributionExpensesPaidbytheFund
     Line11a DistributionPlanDevelopmentExpenses                                           Ͳ
              TotalPlanDevelopmentExpenses                                                                                                           Ͳ
     Line11b DistributionPlanImplementationExpenses                                        Ͳ
                 Fees
                    Receiver/FTIConsulting                                                    3,498.00
                    LegalAdvisers                                                             37,754.80
                 InvestorIdentification
                    Notice/PublishingApprovedPlan                                            1,528.05
              TotalPlanImplementationExpenses                                                                                                        42,780.85                                                                                         11
              TotalDisbursementsforDistributionExpensesPaidbytheFund                                                                                                                 42,780.85 42,780.85
Line12       DisbursementstoCourt/Other:                                                                                                             Ͳ
     Line12a InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees                 Ͳ
     Line12b FederalTaxPayments                                                             Ͳ
              TotalDisbursementstoCourt/Other:                                                                                                                                            Ͳ   Ͳ
              TotalFundsDisbursed(Lines9Ͳ12):                                                                                                                                                                               1,545,166.89
Line13       EndingBalance(Asof06/30/2022):                                                                                                                                                                                  25,505,504.19


 Reference#                                               Item                                           Amount             CorrespondingNotes
1            CashandSecurities                                                               $597,476.14 Includes internal loans between Receivership entities. For further details, see
                                                                                                                             theSubscheduleforQSFandAES.




                                                                                                          4
                             Case 3:16-cv-00438-JR                            Document 997                    Filed 08/12/22                   Page 54 of 199


2              Interest/DividendIncome                                                       $           10,240.70 IncludesaggregatemonthlyinterestdepositsfromUnionBank.

3              BusinessAssetLiquidation                                                     $123,536.21 Includes distributions on investments and collections received by
                                                                                                                            ReceivershipEntities.Forfurtherdetails,seeSubschedulesforAHandCSF.

4              ThirdͲPartyLitigationIncome                                                  $1,272,697.33 IncludesthirdͲpartysettlements.

5              DisbursementstoClaimants                                                     $           21,420.83 Includes disbursements to certain Administrative and Convenience claimants,
                                                                                                                      consistent with the Court Order, Dkt. #957. For further details, see the
                                                                                                                      SubscheduleforQSF.

6              InternalTransfers/Loans                                                     $597,476.14 Includes internal loans between Receivership and related entities. For further
                                                                                                                            details,seetheSubscheduleforQSFandAH.

7              ReceivershipOperationsFeestoReceiverorOtherProfessionals                $202,327.11 Includes payments for Receivership operational services of Receiver and
                                                                                                                            retained professionals accrued from October 1, 2021 to December 31, 2021,
                                                                                                                            per Court approval. Additional amounts approved by the Court and paid to
                                                                                                                            the Receiver and retained professionals are included in lines 10e and 11b. For
                                                                                                                            furtherdetails,seetheSubscheduleforQSF.

8              BusinessAssetExpenses                                                        $554,081.86 Includes Servicing Fees, Employee Payroll/Benefit Expenses, Rent/Office
                                                                                                                            Supplies, and various other expenses. For further details, see Schedules or
                                                                                                                            SubschedulesforQSF,AES,andCSF.

9              ThirdͲPartyLitigationExpenses                                                $118,745.00 Includes payments for litigation services of retained professionals accrued
                                                                                                                            from October 1, 2021 to December 31, 2021, per Court approval. Additional
                                                                                                                            amounts approved by the Court and paid to the retained professionals are
                                                                                                                            included in lines 10a and 11b. For further details, see the Subschedule for
                                                                                                                            QSF.

10             FederalandStateTaxPayments                                                 $            8,155.10 Includes various taxes and fees. For further details see the Subschedule for
                                                                                                                      QSF.

11             DistributionPlanImplementationExpenses                                      $           42,780.85 Includes payments to the Distribution and Noticing Agents, as well as
                                                                                                                      payments for plan implementation/claims process expenses of Receiver and
                                                                                                                      retained professionals accrued from October 1, 2021 to December 31, 2021,
                                                                                                                      per Court approval. Additional amounts approved by the Court and paid to
                                                                                                                      the Receiver and retained professionals are included in lines 10a and 10e.
                                                                                                                      Forfurtherdetails,seetheSubscheduleforQSF.

Note: This Report reflects all current and former Receivership Entities. Immediately following the Consolidated Report are Standardized Fund Accounting Reports for individual Receivership
Entities that had cash activity during the Receivership. For certain individual Receivership Entities, additional Subschedules are also provided. Amounts are reported per the "Book" values and
reflect the sum of the activity for all the individual Receivership Entities on a gross basis, including intercompany transactions. Entities that are not included in Exhibit A of the Stipulated Order
havebeenexcludedfromthisReport.




                                                                                                   5
                     Case 3:16-cv-00438-JR               Document 997          Filed 08/12/22          Page 55 of 199




          STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Qualified Settlement Fund Irrevocable Trust - Cash Basis
                                                Receivership; Civil Court Case No. 00
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                  Current Reporting Period 04/01/22 to 06/30/22   12/Ϯϯ/19 to 06/30/22
                                                                       Detail           Subtotal       Grand Total       Case to Date
Line 1         Beginning Balance                                                                      $23,643,807.13                  $0.00
               Increases in Fund Balance:
Line 2         Business Income                                                   -                 -                                     -
Line 3         Cash and Securities                                    $275,476.14       $275,476.14                        $121,501,584.05
Line 4         Interest/Dividend Income                                  $9,635.53         $9,635.53                          $530,368.71
Line 5         Business Asset Liquidation                                        -                 -                             $7,415.00
Line 6         Personal Asset Liquidation                                        -                 -                                     -
Line 7         Third-Party Litigation                                $1,272,697.33     $1,272,697.33                        $14,873,919.01
Line 8         Miscellaneous - Other                                             -                 -                             $8,474.18
               Total Funds Available (Lines 1-8):                                      $1,557,809.00    $25,201,616.13     $136,921,760.95
               Decreases in Fund Balance:
Line 9         Disbursements to Claimants                                 $21,420.83     $21,420.83        $21,420.83       $96,055,504.69
Line 10        Disbursements for Receivership Operations
   Line 10     Internal Transfers / Loans                                $322,000.00                                         $5,240,000.00
   Line 10a    Disbursements to Receiver or Other Professionals          $202,327.11                                         $2,878,568.46
   Line 10b    Business Asset Expenses                                   $221,045.15                                         $2,954,175.26
   Line 10c    Personal Asset Expenses                                             -                                                     -
   Line 10d    Hospital Settlements & Investment Expenses                          -                                                     -
   Line 10e    Third-Party Litigation Expenses                                     -                                          $813,285.00
                 1. Attorney Fees                                        $118,745.00
                 2. Litigation Expenses                                            -
                Total Third-party Litigation Expenses                                   $118,745.00
  Line 10f     Tax Administrator Fees and Bonds                                    -                                                     -
  Line 10g     Federal and State Tax Payments                              $8,155.00                                            $70,053.98
               Total Disbursements for Receivership Operations                          $872,272.26       $872,272.26       $11,956,082.70
               Disbursements for Distribution Expenses Paid by the
Line 11
               Fund:
  Line 11      Distribution Plan Development Expenses                              -                                                     -
  Line 11a     Distribution Plan Development Expenses:                             -                                           $729,554.40
                 1. Fees:                                                          -
                         Fund Administrator                                        -
                         Independent Distribution Consultant (IDC)                 -
                         Distribution Agent                                        -
                         Consultants                                               -
                         Legal Advisers                                            -
                         Tax Advisers                                              -
                 2. Administrative Expenses                                        -
                 3. Miscellaneous                                                  -
               Total Plan Development Expenses                                                     -
  Line 11b     Distribution Plan Implementation Expenses:                          -                                         $3,915,476.97
                 1. Fees:                                                          -
                         Fund Administrator                                        -
                         IDC                                                       -
                         Distribution Agent                                        -
                         Consultants                                       $3,498.00
                         Legal Advisers                                   $37,754.80
                         Tax Advisers                                              -
                 2. Administrative Expenses                                        -




                                                                     6
                    Case 3:16-cv-00438-JR                Document 997           Filed 08/12/22           Page 56 of 199



                 3. Investor Identification:                                        -
                       Notice/Publishing Approved Plan                      $1,528.05
                       Claimant Identification                                      -
                       Claims Processing                                            -
                       Web Site Maintenance/Call Center                             -
                 4. Fund Administrator Bond                                         -
                 5. Miscellaneous                                                   -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                    -
              Total Plan Implementation Expenses                                           $42,780.85
              Total Disbursements for Distribution Expenses Paid by
                                                                                           $42,780.85        $42,780.85            $4,645,031.37
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                          -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                               -                                                         -
              Total Disbursements to Court/Other:                                                    -                 -                      -
              Total Funds Disbursed (Lines 9-12):                                                           $936,473.94         $112,656,618.76
Line 13       Ending Balance (As of 06/30/22):                                                            $24,265,142.19         $24,265,142.19
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                   $24,265,142.19          $24,265,142.19
   Line 14b     Investments                                                                                            -                       -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                       -
                 Total Ending Balance of Fund - Net Assets                                                $24,265,142.19          $24,265,142.19

              OTHER SUPPLEMENTAL INFORMATION:                             04/01/22 to 06/30/22                             12/2ϯ/19 to 06/30/22
                                                                           Detail         Subtotal        Grand Total          Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                        -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                      -                                                             -
                1. Fees:                                                            -
                      Fund Administrator                                            -
                      IDC                                                           -
                      Distribution Agent                                            -
                      Consultants                                                   -
                      Legal Advisers                                                -
                      Tax Advisers                                                  -
                2. Administrative Expenses                                          -
                3. Miscellaneous                                                    -
              Total Plan Development Expenses Not Paid by the Fund                                   -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                   -                                                             -
                1. Fees:                                                            -
                      Fund Administrator                                            -
                      IDC                                                           -
                      Distribution Agent                                            -
                      Consultants                                                   -
                      Legal Advisers                                                -
                      Tax Advisers                                                  -
                2. Administrative Expenses                                          -
                3. Investor Identification:                                         -
                    Notice/Publishing Approved Plan                                 -
                    Claimant Identification                                         -




                                                                      7
                        Case 3:16-cv-00438-JR                 Document 997           Filed 08/12/22             Page 57 of 199



                       Claims Processing                                                  -
                       Web Site Maintenance/Call Center                                   -
                   4. Fund Administrator Bond                                             -
                   5. Miscellaneous                                                       -
                   6. FAIR Reporting Expenses                                             -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                       -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                      -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                            -                 -                       -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                    -
   Line 16b              Federal Tax Payments                                             -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                            -                 -                       -
                 Fund:
Line 17          DC & State Tax Payments                                                  -                 -                                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                         -
   Line 18b        # of Claims Received Since Inception of Fund                                                                                       -
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period1                                                                            2
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund2                                                                      2,462


1.    Represents number of claims paid this reporting period to certain Administrative and Creditor claimants who converted to Convenience claimants,
      consistent with Court Order, Dkt. #957.

2.    Of the reported total of 2,462 paid claimants, 1,652 Defrauded Investors have received two interim distributions. A total of 287 checks from prior
      distributions were undeliverable or not cashed within 180 days, therefore have been canceled per the terms of the Distribution Plan.




                                                                                                      Receiver:
                                                                                                      By:
                                                                                                                (signature)
                                                                                                                Ronald F. Greenspan
                                                                                                                (printed name)

                                                                                                                Administrator and Trustee
                                                                                                                (title)


                                                                                                      Date: August 1, 2022




                                                                              8
                                 Case 3:16-cv-00438-JR                   Document 997                                     Filed 08/12/22                                           Page 58 of 199


                                              SubscheduleforAequitasQualifiedSettlementFundIrrevocableTrust(QSF)ͲCashBasis
                                                                       Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                                                          ReportingPeriod04/01/2022to06/30/2022


FUNDACCOUNTING:
                                                                                                Subcategory                                              Detail                             Subtotal                          GrandTotal                    Reference
Line1        BeginningBalance(Asof04/01/2022):                                                                                                                                                                     23,643,807.13
              IncreasesinFundBalance:
Line2        BusinessIncome                                                        Ͳ   Ͳ Ͳ
Line3        CashandSecurities                                                    Ͳ   275,476.14 275,476.14
                    AequitasHoldings,LLC                                           275,476.14
Line4        Interest/DividendIncome                                               9,635.53           9,635.53          9,635.53
Line5        BusinessAssetLiquidation                                             Ͳ   Ͳ   Ͳ
Line6        PersonalAssetLiquidation                                             Ͳ   Ͳ   Ͳ
Line7        ThirdͲPartyLitigationIncome                                          1,272,697.33               1,272,697.33             1,272,697.33                                                      1
Line8        MiscellaneousͲOther                                                  Ͳ   Ͳ   Ͳ
              TotalFundsAvailable(Lines1Ͳ8):                                                                                                                                 1,557,809.00 25,201,616.13

              DecreasesinFundBalance:
Line9        DisbursementstoClaimants                                             Ͳ   21,420.83 21,420.83 21,420.83
                 DisbursementstoAdministrativeClassClaimants                     17,420.83                                                                                                                               2
                 DisbursementstoConvenienceClassClaimants                        4,000.00                                                                                                                              3
Line10        DisbursementsforReceivershipOperations
      Line10 InternalTransfers/LoansTo:                                        Ͳ   322,000.00
                 AequitasEnterpriseServices,LLC                                   322,000.00
     Line10a DisbursementstoReceiverorOtherProfessionals                       Ͳ   202,327.11
                 Receiver/FTIConsulting                                             148,870.40                                                                                                                                4
                 LegalAdvisers                                                      53,456.71                                                                                                                               5
     Line10b BusinessAssetExpenses                                                Ͳ   221,045.15
                 InsuranceExpenses                                                  11,636.17
                 ITExpenses                                                         174,724.39
                 EmployeePayroll/BenefitExpenses                                   16,403.73
                 Rent/OfficeSupplies                                                13,288.78
                 Miscellaneous                                                       4,992.08
     Line10c PersonalAssetExpenses                                                Ͳ   Ͳ
     Line10d HospitalSettlements&InvestmentExpenses                             Ͳ   Ͳ
     Line10e ThirdͲPartyLitigationExpenses                                        Ͳ
              1.AttorneyFees                                                 118,745.00                                                                                                                                6
              TotalThirdͲPartyLitigationExpenses                                                                                          118,745.00
     Line10f TaxAdministratorFeesandBonds                                       Ͳ   Ͳ
     Line10g FederalandStateTaxPayments                                          7,850.00           8,155.00
                 StateFilingFees                                                   305.00
              TotalDisbursementsforReceivershipOperations                                                                                                                    872,272.26 872,272.26
Line11       DisbursementsforDistributionExpensesPaidbytheFund
     Line11a DistributionPlanDevelopmentExpenses                                 Ͳ
              TotalPlanDevelopmentExpenses                                                                                                 Ͳ
     Line11b DistributionPlanImplementationExpenses                              Ͳ
                 Fees
                    Receiver/FTIConsulting                                          3,498.00                                                                                                                              7
                    LegalAdvisers                                                   37,754.80                                                                                                                               8
                 InvestorIdentification
                    Notice/PublishingApprovedPlan                                  1,528.05                                                                                                                              9
              TotalPlanImplementationExpenses                                                                                              42,780.85
              TotalDisbursementsforDistributionExpensesPaidbytheFund                                                                                                       42,780.85 42,780.85
Line12       DisbursementstoCourt/Other:                                                                                                   Ͳ
     Line12a InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees       Ͳ
     Line12b FederalTaxPayments                                                   Ͳ
              TotalDisbursementstoCourt/Other:                                                                                                                                  Ͳ   Ͳ
              TotalFundsDisbursed(Lines9Ͳ12):                                                                                                                                                                     936,473.94
Line13       EndingBalance(Asof06/30/2022):                                                                                                                                                                        24,265,142.19


 Reference#                                              Item                                  Amount           CorrespondingNotes
1            ThirdͲPartyLitigationIncome                                           $1,272,697.33 IncludesthirdͲpartysettlements.

2             DisbursementstoAdministrativeClassClaimants                        $17,420.83 Includes disbursements to certain Administrative Class claimants, consistent
                                                                                                                    withtheCourtOrder,Dkt.#957.




                                                                                               9
                 Case 3:16-cv-00438-JR                         Document 997            Filed 08/12/22                 Page 59 of 199


3   DisbursementstoConvenienceClassClaimants                       $            4,000.00 Includes disbursements to certain Creditor claimants who converted to
                                                                                               ConvenienceClass,consistentwiththeCourtOrder,Dkt.#957.

4   ReceivershipOperationsFeestoReceiver/FTIConsulting            $148,870.40 Includes Court approved payments for Receivership operational services
                                                                                                     accrued from October 1, 2021 to December 31, 2021. Amounts paid to the
                                                                                                     Receiver and FTI Consulting were $7,260.00 and $112,147.20, respectively.
                                                                                                     Additional amounts approved by the Court and paid to the Receiver and FTI
                                                                                                     Consultingareincludedinline11b.

5   ReceivershipOperationsFeestoLegalAdvisors                     $          53,456.71 Includes Court approved payments for Receivership operational services
                                                                                              accrued from October 1, 2021 to December 31, 2021 for Schwabe
                                                                                              Williamson & Wyatt. Additional amounts approved by the Court and paid to
                                                                                              SchwabeWilliamson&Wyattareincludedinlines10eand11b.

6   ThirdͲPartyLitigationExpenses                                    $118,745.00 Includes payments for litigation services accrued from October 1, 2021 to
                                                                                                     December 31, 2021 for Schwabe Williamson & Wyatt. Additional amounts
                                                                                                     approved by the Court and paid to the retained professionals are included in
                                                                                                     lines10aand11b.

7   DistributionPlanImplementationFeestoReceiver/FTIConsulting   $            3,498.00 Includes Court approved payments for distribution plan implementation
                                                                                               services accrued from July 1, 2021 to September 30, 2021. Amounts paid to
                                                                                               the Receiver and FTI Consulting were $3,498.00 and $29,463.20,
                                                                                               respectively. Additional amounts approved by the Court and paid to the
                                                                                               ReceiverandFTIConsultingareincludedinlines10a.

8   DistributionPlanImplementationFeestoLegalAdvisors            $          37,754.80 Includes Court approved payments for distribution plan implementation
                                                                                              services accrued from October 1, 2021 to December 31, 2021 for Schwabe
                                                                                              Williamson & Wyatt. Additional amounts approved by the Court and paid to
                                                                                              SchwabeWilliamson&Wyattareincludedinlines10aand10e.

9   DistributionPlanImplementationFeestoNoticingAgent            $            1,528.05 Includes payments to the Claims and Noticing Agent, Epiq Corporate
                                                                                               Restructuring.




                                                                            10
                    Case 3:16-cv-00438-JR               Document 997       Filed 08/12/22            Page 60 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Management, LLC (AM)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail          Subtotal        Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                             $10,154.41
Line 4        Interest/Dividend Income                                          -                -                                  $0.96
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $10,155.37
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                 $150.01
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                              $10,005.36
              Total Disbursements for Receivership Operations                                    -               -             $10,155.37
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    11
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 61 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -                -                        -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00               $10,155.37
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      12
                         Case 3:16-cv-00438-JR                 Document 997              Filed 08/12/22             Page 62 of 199



                        Claims Processing                                                     -
                        Web Site Maintenance/Call Center                                      -
                    4. Fund Administrator Bond                                                -
                    5. Miscellaneous                                                          -
                    6. FAIR Reporting Expenses                                                -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                          -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                         -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                -                   -            -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                       -
   Line 16b               Federal Tax Payments                                                -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                -                   -            -
                  Fund:
Line 17           DC & State Tax Payments                                                     -                 -                                -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                   -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                              50
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                        -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                      -


1.    Represents 50 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 8 duplicative claims
      • 8 late filed claims




                                                                                                                    Receiver:
                                                                                                                    By:
                                                                                                                          (signature)
                                                                                                                          Ronald F. Greenspan
                                                                                                                          (printed name)

                                                                                                                          Receiver
                                                                                                                          (title)



                                                                                                                    Date: August 1, 2022




                                                                               13
                    Case 3:16-cv-00438-JR               Document 997           Filed 08/12/22        Page 63 of 199




                        STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Holdings, LLC (AH)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                         $234,386.32            $70,050.71
              Increases in Fund Balance:
Line 2        Business Income                                                      -             -                                $150.00
Line 3        Cash and Securities                                                  -             -                           $153,810.00
Line 4        Interest/Dividend Income                                        $52.17        $52.17                             $12,899.07
Line 5        Business Asset Liquidation                                  $41,061.89    $41,061.89                          $2,962,395.34
Line 6        Personal Asset Liquidation                                           -             -                                      -
Line 7        Third-Party Litigation                                               -             -                                      -
Line 8        Miscellaneous - Other                                                -             -                                      -
              Total Funds Available (Lines 1-8):                                        $41,114.06      $275,500.38         $3,199,305.12
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                           -             -                -                     -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                 $275,476.14                                        $3,094,959.41
   Line 10a   Disbursements to Receiver or Other Professionals                     -                                                    -
   Line 10b   Business Asset Expenses                                              -                                           $37,263.47
   Line 10c   Personal Asset Expenses                                              -                                                    -
   Line 10d   Hospital Settlements & Investment Expenses                           -                                           $50,000.00
   Line 10e   Third-Party Litigation Expenses                                      -                                                    -
                1. Attorney Fees                                                   -
                2. Litigation Expenses                                             -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                     -                                                    -
  Line 10g    Federal and State Tax Payments                                       -                                           $17,058.00
              Total Disbursements for Receivership Operations                          $275,476.14      $275,476.14         $3,199,280.88
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                               -                                                    -
  Line 11a    Distribution Plan Development Expenses:                              -
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        Independent Distribution Consultant (IDC)                  -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -
                3. Miscellaneous                                                   -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                           -
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        IDC                                                        -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -




                                                                    14
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 64 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                            $275,476.14             $3,199,280.88
Line 13       Ending Balance (As of 06/30/22):                                                                    $24.24                    $24.24
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $24.24                   $24.24
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $24.24                   $24.24

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      15
                         Case 3:16-cv-00438-JR                 Document 997              Filed 08/12/22             Page 65 of 199



                        Claims Processing                                                     -
                        Web Site Maintenance/Call Center                                      -
                    4. Fund Administrator Bond                                                -
                    5. Miscellaneous                                                          -
                    6. FAIR Reporting Expenses                                                -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                          -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                         -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                -                     -            -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                       -
   Line 16b               Federal Tax Payments                                                -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                -                     -            -
                  Fund:
Line 17           DC & State Tax Payments                                                     -                 -                                  -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                     -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                12
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                          -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                        -


1.    Represents 12 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 1 duplicative claim
      • 2 late filed claims
      • 1 claim submitted prior to the Bar Date Order and provided to the Receivership during Q1’21



                                                                                                                      Receiver:
                                                                                                                      By:
                                                                                                                            (signature)
                                                                                                                            Ronald F. Greenspan
                                                                                                                            (printed name)

                                                                                                                            Receiver
                                                                                                                            (title)


                                                                                                                      Date: August 1, 2022




                                                                               16
                                Case 3:16-cv-00438-JR                               Document 997                                      Filed 08/12/22                                           Page 66 of 199


                                                                         SubscheduleforAequitasHoldings,LLC(AH)ͲCashBasis
                                                                                Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                                                                   ReportingPeriod4/01/2022to06/30/2022


FUNDACCOUNTING:
                                                                                                            Subcategory                                              Detail                             Subtotal                          GrandTotal                    Reference
Line1          BeginningBalance(Asof04/01/2022):                                                                                                                                                                               234,386.32
                IncreasesinFundBalance:
Line2          BusinessIncome                                                                  Ͳ   Ͳ   Ͳ
Line3          CashandSecurities                                                              Ͳ   Ͳ   Ͳ
Line4          Interest/DividendIncome                                                         52.17        52.17       52.17
Line5          BusinessAssetLiquidation                                                       41,061.89            41,061.89           41,061.89                                                    1
Line6          PersonalAssetLiquidation                                                       Ͳ   Ͳ   Ͳ
Line7          ThirdͲPartyLitigationIncome                                                    Ͳ   Ͳ   Ͳ
Line8          MiscellaneousͲOther                                                            Ͳ   Ͳ   Ͳ
                TotalFundsAvailable(Lines1Ͳ8):                                                                                                                                           41,114.06 275,500.38

               DecreasesinFundBalance:
Line9         DisbursementstoClaimants                                                        Ͳ   Ͳ   Ͳ   Ͳ
Line10        DisbursementsforReceivershipOperations
      Line10 InternalTransfers/LoansTo:                                                    Ͳ   275,476.14
                  AequitasQualifiedSettlementFundIrrevocableTrust                           275,476.14
     Line10a   DisbursementstoReceiverorOtherProfessionals                                 Ͳ   Ͳ
     Line10b   BusinessAssetExpenses                                                          Ͳ   Ͳ
     Line10c   PersonalAssetExpenses                                                          Ͳ   Ͳ
     Line10d   HospitalSettlements&InvestmentExpenses                                       Ͳ   Ͳ
     Line10e   ThirdͲPartyLitigationExpenses                                                  Ͳ
                TotalThirdͲPartyLitigationExpenses                                                                                                    Ͳ
     Line10f   TaxAdministratorFeesandBonds                                                 Ͳ   Ͳ
     Line10g    FederalandStateTaxPayments                                                   Ͳ   Ͳ
                TotalDisbursementsforReceivershipOperations                                                                                                                              275,476.14 275,476.14
Line11         DisbursementsforDistributionExpensesPaidbytheFund
     Line11a   DistributionPlanDevelopmentExpenses
                TotalPlanDevelopmentExpenses                                                                                                           Ͳ
     Line11b   DistributionPlanImplementationExpenses                                        Ͳ
                TotalPlanImplementationExpenses                                                                                                        Ͳ
                TotalDisbursementsforDistributionExpensesPaidbytheFund                                                                                                                 Ͳ   Ͳ
Line12         DisbursementstoCourt/Other:                                                                                                             Ͳ
     Line12a   InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees                 Ͳ
     Line12b   FederalTaxPayments                                                             Ͳ
                TotalDisbursementstoCourt/Other:                                                                                                                                            Ͳ   Ͳ
                TotalFundsDisbursed(Lines9Ͳ12):                                                                                                                                                                               275,476.14
Line13         EndingBalance(Asof06/30/2022):                                                                                                                                                                                  24.24


 Reference#                                                Item                                            Amount              CorrespondingNotes
1            BusinessAssetLiquidation                                                          $41,061.89 DistributionreceivedfrominvestmentinPortlandSeedFundII,LP.




                                                                                                         17
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 67 of 199




                STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Commercial Finance, LLC (ACF)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00         $1,244,172.81
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                           $719,532.75
Line 3        Cash and Securities                                               -               -                           $898,737.28
Line 4        Interest/Dividend Income                                          -               -                          $1,074,207.46
Line 5        Business Asset Liquidation                                        -               -                         $48,030,208.39
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $2,102.27
              Total Funds Available (Lines 1-8):                                                -           $0.00         $51,968,960.96
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -           $100,000.00
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                         $40,532,535.73
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                           $628,236.10
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                         $10,700,000.01
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $8,189.12
              Total Disbursements for Receivership Operations                                   -                -        $51,868,960.96
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    18
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 68 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00            $51,968,960.96
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      19
                        Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22             Page 69 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                        -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                             -                 -                         -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                             -                 -                         -
                 Fund:
Line 17          DC & State Tax Payments                                                   -                 -                                           -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                            -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                    1,043
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                              1


1.    Represents 926 NOD forms provided by the Receiver and 117 individual claim submissions received by Epiq since the start of the Receivership,
      including:
      • 17 duplicative claims
      • 3 late filed claims
      • 1 claim submitted prior to the Bar Date Order and provided to the Receivership during Q1’21



                                                                                                             Receiver:
                                                                                                             By:
                                                                                                                    (signature)
                                                                                                                    Ronald F. Greenspan
                                                                                                                    (printed name)

                                                                                                                    Receiver
                                                                                                                    (title)


                                                                                                             Date: August 1, 2022




                                                                             20
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 70 of 199




               STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Capital Management, Inc. (ACM)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.01           $103,972.20
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                            $166,156.94
Line 3        Cash and Securities                                               -               -                            $900,992.32
Line 4        Interest/Dividend Income                                          -               -                                  $92.14
Line 5        Business Asset Liquidation                                        -               -                              $91,461.74
Line 6        Personal Asset Liquidation                                        -               -                                       -
Line 7        Third-Party Litigation                                            -               -                                       -
Line 8        Miscellaneous - Other                                             -               -                           $2,623,896.64
              Total Funds Available (Lines 1-8):                                                -           $0.01           $3,886,571.98
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                   $0.01                                                $9,940.15
   Line 10a   Disbursements to Receiver or Other Professionals                 -                                               $45,592.50
   Line 10b   Business Asset Expenses                                          -                                            $3,699,439.78
   Line 10c   Personal Asset Expenses                                          -                                                        -
   Line 10d   Hospital Settlements & Investment Expenses                       -                                               $77,406.50
   Line 10e   Third-Party Litigation Expenses                                  -                                                        -
                1. Attorney Fees                                               -
                2. Litigation Expenses                                         -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                              $54,193.05
              Total Disbursements for Receivership Operations                               $0.01           $0.01           $3,886,571.98
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    21
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 71 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.01             $3,886,571.98
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      22
                        Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22            Page 72 of 199



                       Claims Processing                                                  -
                       Web Site Maintenance/Call Center                                   -
                   4. Fund Administrator Bond                                             -
                   5. Miscellaneous                                                       -
                   6. FAIR Reporting Expenses                                             -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                       -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                      -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                            -                 -                         -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                    -
   Line 16b              Federal Tax Payments                                             -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                            -                 -                         -
                 Fund:
Line 17          DC & State Tax Payments                                                  -                 -                                           -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                         -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                   145
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                              -


1.    Represents 69 NOD forms provided by the Receiver, 3 claims that were submitted prior to the Bar Date Order, and 73 individual claim submissions
      received by Epiq since the start of the Receivership, including:
      • 15 duplicative claims
      • 1 amended claim
      • 12 late filed claims
                                                                                                    Receiver:
                                                                                                    By:
                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                    Date: August 1, 2022




                                                                             23
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 73 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Investment Management, LLC (AIM)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00               $119.78
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                            $333,077.16
Line 3        Cash and Securities                                               -               -                              $1,940.03
Line 4        Interest/Dividend Income                                          -               -                              $5,678.83
Line 5        Business Asset Liquidation                                        -               -                            $200,000.00
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $1,556.05
              Total Funds Available (Lines 1-8):                                                -           $0.00            $542,371.85
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                            $538,841.04
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                              $1,104.29
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,426.52
              Total Disbursements for Receivership Operations                                   -                -           $542,371.85
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    24
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 74 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -                -                        -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00              $542,371.85
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      25
                         Case 3:16-cv-00438-JR                 Document 997              Filed 08/12/22             Page 75 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                          -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                -                 -          -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                -                 -          -
                  Fund:
Line 17           DC & State Tax Payments                                                    -                  -                            -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                               -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                         101
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                    -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                  -


1.    Represents 101 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 18 duplicative claims
      • 10 late filed claims



                                                                                                          Receiver:
                                                                                                          By:
                                                                                                                     (signature)
                                                                                                                     Ronald F. Greenspan
                                                                                                                     (printed name)

                                                                                                                     Receiver
                                                                                                                     (title)


                                                                                                          Date:         August 1, 2022




                                                                               26
                    Case 3:16-cv-00438-JR               Document 997           Filed 08/12/22        Page 76 of 199




                 STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Enterprise Services, LLC (AES)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22    03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total        Case to Date
Line 1        Beginning Balance                                                                            $1,589.65           $483,563.92
              Increases in Fund Balance:
Line 2        Business Income                                                      -             -                          $1,775,593.81
Line 3        Cash and Securities                                        $322,000.00   $322,000.00                         $43,302,951.38
Line 4        Interest/Dividend Income                                         $2.28         $2.28                              $1,466.14
Line 5        Business Asset Liquidation                                           -             -                                      -
Line 6        Personal Asset Liquidation                                           -             -                                      -
Line 7        Third-Party Litigation                                               -             -                                      -
Line 8        Miscellaneous - Other                                                -             -                           $207,061.12
              Total Funds Available (Lines 1-8):                                       $322,002.28      $323,591.93        $45,770,636.37
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                           -             -                -           $903,072.77
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                           -                                             $838.19
   Line 10a   Disbursements to Receiver or Other Professionals                     -                                       $20,818,509.46
   Line 10b   Business Asset Expenses                                    $322,473.71                                       $21,818,997.12
   Line 10c   Personal Asset Expenses                                              -                                                    -
   Line 10d   Hospital Settlements & Investment Expenses                           -                                                    Ͳ
   Line 10e   Third-Party Litigation Expenses                                      -                                           $65,908.38
                1. Attorney Fees                                                   -
                2. Litigation Expenses                                             -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                     -                                                    -
  Line 10g    Federal and State Tax Payments                                       -                                          $128,992.39
              Total Disbursements for Receivership Operations                          $322,473.71      $322,473.71        $42,833,245.54
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                               -                                                    -
  Line 11a    Distribution Plan Development Expenses:                              -                                          $179,716.40
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        Independent Distribution Consultant (IDC)                  -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -
                3. Miscellaneous                                                   -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                           -                                        $1,853,483.44
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        IDC                                                        -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -




                                                                    27
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 77 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -           $2,033,199.84
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                            $322,473.71            $45,769,518.15
Line 13       Ending Balance (As of 06/30/22):                                                                 $1,118.22                 $1,118.22
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $1,118.22                 $1,118.22
   Line 14b     Investments                                                                                            -                         -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                         -
                 Total Ending Balance of Fund - Net Assets                                                     $1,118.22                 $1,118.22

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      28
                        Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22              Page 78 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                         -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                              -                -                   -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                -                   -
                 Fund:
Line 17          DC & State Tax Payments                                                   -                  -                                    -
Line 18          No. of Claims:
   Line 18a       # of Claims Received This Reporting Period                                                                                      -
   Line 18b       # of Claims Received Since Inception of Fund 1                                                                                 82
Line 19          No. of Claimants / Investors:
   Line 19a       # of Claimants / Investors Paid This Reporting Period                                                                            -
   Line 19b       # of Claimants / Investors Paid Since Inception of Fund                                                                        120


1.    Represents 80 NOD forms provided by the Receiver and 2 individual claim submissions received by Epiq since the start of the Receivership



                                                                                                        Receiver:
                                                                                                        By:
                                                                                                                  (signature)
                                                                                                                  Ronald F. Greenspan
                                                                                                                  (printed name)

                                                                                                                  Receiver
                                                                                                                  (title)


                                                                                                        Date: August 1, 2022




                                                                             29
                                 Case 3:16-cv-00438-JR                             Document 997                                      Filed 08/12/22                                           Page 79 of 199


                                                                  SubscheduleforAequitasEnterpriseServices,LLC(AES)ͲCashBasis
                                                                                Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                                                                   ReportingPeriod04/01/2022to06/30/2022


FUNDACCOUNTING:
                                                                                                           Subcategory                                              Detail                             Subtotal                          GrandTotal                    Reference
Line1           BeginningBalance(Asof04/01/2022):                                                                                                                                                                             1,589.65
                 IncreasesinFundBalance:
Line2           BusinessIncome                                                                Ͳ   Ͳ Ͳ
Line3           CashandSecurities                                                            Ͳ   322,000.00 322,000.00
                   InternalTransfers/LoanFrom:
                      AequitasQualifiedSettlementFundIrrevocableTrust                      322,000.00
Line4           Interest/DividendIncome                                                       2.28       2.28      2.28
Line5           BusinessAssetLiquidation                                                     Ͳ   Ͳ   Ͳ
Line6           PersonalAssetLiquidation                                                     Ͳ   Ͳ   Ͳ
Line7           ThirdͲPartyLitigationIncome                                                  Ͳ   Ͳ   Ͳ
Line8           MiscellaneousͲOther                                                          Ͳ   Ͳ   Ͳ
                 TotalFundsAvailable(Lines1Ͳ8):                                                                                                                                         322,002.28 323,591.93

                 DecreasesinFundBalance:
Line9           DisbursementstoClaimants                                                     Ͳ   Ͳ   Ͳ   Ͳ
Line10          DisbursementsforReceivershipOperations
      Line10   InternalTransfers/LoansTo:                                                                                                          Ͳ
     Line10a    DisbursementstoReceiverorOtherProfessionals                               Ͳ   Ͳ
     Line10b    BusinessAssetExpenses                                                        Ͳ   322,473.71
                   EmployeePayroll/BenefitExpenses                                            322,473.71
     Line10c PersonalAssetExpenses                                                           Ͳ   Ͳ
     Line10d HospitalSettlements&InvestmentExpenses                                        Ͳ   Ͳ
     Line10e ThirdͲPartyLitigationExpenses                                                   Ͳ
               TotalThirdͲPartyLitigationExpenses                                                                                                    Ͳ
      Line10f TaxAdministratorFeesandBonds                                                 Ͳ   Ͳ
      Line10g FederalandStateTaxPayments                                                    Ͳ   Ͳ
               TotalDisbursementsforReceivershipOperations                                                                                                                              322,473.71 322,473.71
Line11        DisbursementsforDistributionExpensesPaidbytheFund
     Line11a DistributionPlanDevelopmentExpenses
               TotalPlanDevelopmentExpenses                                                                                                           Ͳ
     Line11b DistributionPlanImplementationExpenses                                         Ͳ
               TotalPlanImplementationExpenses                                                                                                        Ͳ
               TotalDisbursementsforDistributionExpensesPaidbytheFund                                                                                                                 Ͳ   Ͳ
Line12        DisbursementstoCourt/Other:                                                                                                             Ͳ
     Line12a InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees                  Ͳ
     Line12b FederalTaxPayments                                                              Ͳ
               TotalDisbursementstoCourt/Other:                                                                                                                                            Ͳ   Ͳ
               TotalFundsDisbursed(Lines9Ͳ12):                                                                                                                                                                               322,473.71
Line13          EndingBalance(Asof06/30/2022):                                                                                                                                                                                1,118.22




                                                                                                        30
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22           Page 80 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for AAM Fund Investment, LLC (AAMFI)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                                $600.00
Line 4        Interest/Dividend Income                                          -                -                                $488.20
Line 5        Business Asset Liquidation                                        -                -                             $50,709.98
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                              $4,135.50
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $55,933.68
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                              $49,633.68
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $6,300.00
              Total Disbursements for Receivership Operations                                    -               -             $55,933.68
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    31
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 81 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -                -                        -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00               $55,933.68
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      32
                    Case 3:16-cv-00438-JR                  Document 997        Filed 08/12/22        Page 82 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          33
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 83 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for ACC C Plus Holdings, LLC (ACCCPH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00               $212.42
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $1,100.78
Line 4        Interest/Dividend Income                                          -               -                                  $0.06
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00              $1,313.26
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                  $0.03
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $1,313.23
              Total Disbursements for Receivership Operations                                   -                -             $1,313.26
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    34
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 84 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00                 $1,313.26
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      35
                        Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22       Page 85 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                  -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                       -                -        -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                       -                -        -
                 Fund:
Line 17          DC & State Tax Payments                                                    -          -                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                    -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                3
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                         -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                       -


1.    Represents 3 NOD forms provided by the Receiver since the start of the Receivership
                                                                                                 Receiver:
                                                                                                 By:
                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                 Date: August 1, 2022




                                                                             36
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 86 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for ACC F Plus Holdings, LLC (ACCFPH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                $41.73
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $1,271.52
Line 4        Interest/Dividend Income                                          -               -                                  $0.06
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00              $1,313.31
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                  $0.03
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $1,313.28
              Total Disbursements for Receivership Operations                                   -                -             $1,313.31
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    37
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 87 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00                 $1,313.31
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      38
                        Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22        Page 88 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                   -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                        -                -        -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                        -                -        -
                 Fund:
Line 17          DC & State Tax Payments                                                   -            -                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                     -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                 1
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                          -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                        -


1.    Represents 1 NOD form provided by the Receiver since the start of the Receivership



                                                                                                  Receiver:
                                                                                                  By:
                                                                                                            (signature)
                                                                                                            Ronald F. Greenspan
                                                                                                            (printed name)

                                                                                                            Receiver
                                                                                                            (title)


                                                                                                  Date: August 1, 2022




                                                                             39
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22           Page 89 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for ACC Funding Series Trust 2015-5                (ACCFST-5)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22    03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total        Case to Date
Line 1        Beginning Balance                                                                            $1,110.32         $1,528,952.28
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                          -
Line 3        Cash and Securities                                               -               -                                  $3,672.23
Line 4        Interest/Dividend Income                                      $0.33           $0.33                               $144,418.63
Line 5        Business Asset Liquidation                                        -               -                             $11,723,115.98
Line 6        Personal Asset Liquidation                                        -               -                                          -
Line 7        Third-Party Litigation                                            -               -                                          -
Line 8        Miscellaneous - Other                                             -               -                                    $411.06
              Total Funds Available (Lines 1-8):                                            $0.33          $1,110.65          $13,400,570.18
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -                 -           $9,021,586.40
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                       -                                                    $899.97
   Line 10a   Disbursements to Receiver or Other Professionals                 -                                                           -
   Line 10b   Business Asset Expenses                                          -                                               $4,351,744.98
   Line 10c   Personal Asset Expenses                                          -                                                           -
   Line 10d   Hospital Settlements & Investment Expenses                 $180.00                                                  $24,444.20
   Line 10e   Third-Party Litigation Expenses                                  -                                                           -
                1. Attorney Fees                                               -
                2. Litigation Expenses                                         -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                          -
  Line 10g    Federal and State Tax Payments                                $0.10                                                   $964.08
              Total Disbursements for Receivership Operations                             $180.10           $180.10            $4,378,053.23
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                          -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    40
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 90 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -               -                          -
              Total Funds Disbursed (Lines 9-12):                                                               $180.10             $13,399,639.63
Line 13       Ending Balance (As of 06/30/22):                                                                  $930.55                   $930.55
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                         $930.55                   $930.55
   Line 14b     Investments                                                                                           -                         -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                         -
                 Total Ending Balance of Fund - Net Assets                                                      $930.55                   $930.55

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      41
                         Case 3:16-cv-00438-JR                 Document 997              Filed 08/12/22          Page 91 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                       -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                             -                  -                        -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                             -                  -                        -
                  Fund:
Line 17           DC & State Tax Payments                                                    -               -                                           -
Line 18           No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                            -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                        1
Line 19           No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                 -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                               1


1.    Represents 1 individual claim submission received by Epiq since the start of the Receivership.

Following Court approval (see Dkt. #787, 813 and 853), ACCFST-5 has been removed from the Receivership Estate. Post-transaction cash reconciliation is
being finalized and will be retained to capture the historical activity of the entity.



                                                                                                       Receiver:
                                                                                                       By:
                                                                                                                 (signature)
                                                                                                                 Ronald F. Greenspan
                                                                                                                 (printed name)

                                                                                                                 Receiver  (for the period during which
                                                                                                                 ACCFST-5 was subject to the Receivership
                                                                                                                 Order)
                                                                                                                 (title)


                                                                                                       Date: August 1, 2022




                                                                               42
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 92 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for ACC Funding Trust 2014-1            (ACCFT-1)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00         $2,477,689.86
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                          $4,235,599.93
Line 4        Interest/Dividend Income                                          -               -                             $84,478.70
Line 5        Business Asset Liquidation                                        -               -                         $48,429,744.62
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00         $55,227,513.11
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -        $41,464,806.25
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                         $13,484,718.85
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                           $254,414.18
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                             $23,573.83
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                                      -
              Total Disbursements for Receivership Operations                                   -                -        $13,762,706.86
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    43
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 93 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00            $55,227,513.11
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      44
                    Case 3:16-cv-00438-JR                  Document 997        Filed 08/12/22        Page 94 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    1


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          45
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 95 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for ACC Funding Trust 2014-2            (ACCFT-2)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00         $4,285,639.34
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                          $2,995,877.49
Line 4        Interest/Dividend Income                                          -               -                             $70,898.81
Line 5        Business Asset Liquidation                                        -               -                         $27,433,829.75
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00         $34,786,245.39
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -        $20,654,250.67
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                         $13,766,239.27
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                           $311,115.35
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                             $54,640.10
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                                      -
              Total Disbursements for Receivership Operations                                   -                -        $14,131,994.72
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    46
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 96 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00            $34,786,245.39
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      47
                    Case 3:16-cv-00438-JR                  Document 997        Filed 08/12/22        Page 97 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    1


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date:      August 1, 2022




                                                                          48
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22          Page 98 of 199




                        STANDARDIZED FUND ACCOUNTING REPORT for ACC Holdings 1, LLC (ACCH1)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                $11.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $3,188.88
Line 4        Interest/Dividend Income                                          -               -                                  $0.20
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00              $3,200.08
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                $900.08
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,300.00
              Total Disbursements for Receivership Operations                                   -                -             $3,200.08
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    49
                    Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22           Page 99 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                  -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                              -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                              -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                           -
              Total Disbursements to Court/Other:                                                     -                -                         -
              Total Funds Disbursed (Lines 9-12):                                                                  $0.00                 $3,200.08
Line 13       Ending Balance (As of 06/30/22):                                                                     $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                            $0.00                    $0.00
   Line 14b     Investments                                                                                            -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                        -                        -
                 Total Ending Balance of Fund - Net Assets                                                         $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                              03/16/16 to 06/30/22
                                                                            Detail         Subtotal        Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                              -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                              -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      50
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 100 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date:       August 1, 2022




                                                                          51
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 101 of 199




                        STANDARDIZED FUND ACCOUNTING REPORT for ACC Holdings 2, LLC (ACCH2)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00               $328.26
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $2,772.43
Line 4        Interest/Dividend Income                                          -               -                                  $0.20
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00              $3,100.89
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                $800.89
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,300.00
              Total Disbursements for Receivership Operations                                   -                -             $3,100.89
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    52
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 102 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                 $3,100.89
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      53
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 103 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date:       August 1, 2022




                                                                          54
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 104 of 199




                        STANDARDIZED FUND ACCOUNTING REPORT for ACC Holdings 5, LLC (ACCH5)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                              $1,199.97
Line 4        Interest/Dividend Income                                          -                -                                  $0.06
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00              $1,200.03
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                   $0.03
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $1,200.00
              Total Disbursements for Receivership Operations                                    -               -              $1,200.03
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    55
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 105 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                 $1,200.03
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      56
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 106 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          57
                     Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 107 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Asset Management Oregon, LLC (AMO)- Cash Basis
                                           Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                   Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                        Detail           Subtotal       Grand Total       Case to Date
Line 1          Beginning Balance                                                                               $0.00                  $0.00
                Increases in Fund Balance:
Line 2          Business Income                                                   -                -                                      -
Line 3          Cash and Securities                                               -                -                              $1,499.42
Line 4          Interest/Dividend Income                                          -                -                                  $0.61
Line 5          Business Asset Liquidation                                        -                -                                      -
Line 6          Personal Asset Liquidation                                        -                -                                      -
Line 7          Third-Party Litigation                                            -                -                                      -
Line 8          Miscellaneous - Other                                             -                -                                      -
                Total Funds Available (Lines 1-8):                                                 -           $0.00              $1,500.03
                Decreases in Fund Balance:
Line 9          Disbursements to Claimants                                        -                -               -                       -
Line 10         Disbursements for Receivership Operations
   Line 10      Internal Transfers / Loans                                        -                                                 $300.03
   Line 10a     Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b     Business Asset Expenses                                           -                                                       -
   Line 10c     Personal Asset Expenses                                           -                                                       -
   Line 10d     Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e     Third-Party Litigation Expenses                                   -                                                       -
                  1. Attorney Fees                                                -
                  2. Litigation Expenses                                          -
                 Total Third-party Litigation Expenses                                             -
  Line 10f      Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g      Federal and State Tax Payments                                    -                                               $1,200.00
                Total Disbursements for Receivership Operations                                    -               -              $1,500.03
                Disbursements for Distribution Expenses Paid by the
Line 11
                Fund:
  Line 11       Distribution Plan Development Expenses                            -                                                        -
  Line 11a      Distribution Plan Development Expenses:                           -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          Independent Distribution Consultant (IDC)               -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -
                  3. Miscellaneous                                                -
                Total Plan Development Expenses                                                    -
  Line 11b      Distribution Plan Implementation Expenses:                        -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          IDC                                                     -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -




                                                                      58
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 108 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                 $1,500.03
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      59
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 109 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          60
                    Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 110 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Capital Opportunities Fund, LP (COF)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                  Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                       Detail           Subtotal       Grand Total       Case to Date
Line 1         Beginning Balance                                                                               $0.00           $170,591.70
               Increases in Fund Balance:
Line 2         Business Income                                                   -               -                            $669,625.00
Line 3         Cash and Securities                                               -               -                            $439,972.36
Line 4         Interest/Dividend Income                                          -               -                                   $0.08
Line 5         Business Asset Liquidation                                        -               -                            $915,000.00
Line 6         Personal Asset Liquidation                                        -               -                                       -
Line 7         Third-Party Litigation                                            -               -                                       -
Line 8         Miscellaneous - Other                                             -               -                            $250,263.00
               Total Funds Available (Lines 1-8):                                                -           $0.00           $2,445,452.14
               Decreases in Fund Balance:
Line 9         Disbursements to Claimants                                        -               -                -                      -
Line 10        Disbursements for Receivership Operations
   Line 10     Internal Transfers / Loans                                        -                                            $295,000.00
   Line 10a    Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b    Business Asset Expenses                                           -                                           $1,294,365.97
   Line 10c    Personal Asset Expenses                                           -                                                       -
   Line 10d    Hospital Settlements & Investment Expenses                        -                                            $849,625.00
   Line 10e    Third-Party Litigation Expenses                                   -                                                       -
                 1. Attorney Fees                                                -
                 2. Litigation Expenses                                          -
                Total Third-party Litigation Expenses                                            -
  Line 10f     Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g     Federal and State Tax Payments                                    -                                               $6,461.17
               Total Disbursements for Receivership Operations                                   -                -          $2,445,452.14
               Disbursements for Distribution Expenses Paid by the
Line 11
               Fund:
  Line 11      Distribution Plan Development Expenses                            -                                                       -
  Line 11a     Distribution Plan Development Expenses:                           -
                 1. Fees:                                                        -
                         Fund Administrator                                      -
                         Independent Distribution Consultant (IDC)               -
                         Distribution Agent                                      -
                         Consultants                                             -
                         Legal Advisers                                          -
                         Tax Advisers                                            -
                 2. Administrative Expenses                                      -
                 3. Miscellaneous                                                -
               Total Plan Development Expenses                                                   -
  Line 11b     Distribution Plan Implementation Expenses:                        -
                 1. Fees:                                                        -
                         Fund Administrator                                      -
                         IDC                                                     -
                         Distribution Agent                                      -
                         Consultants                                             -
                         Legal Advisers                                          -
                         Tax Advisers                                            -
                 2. Administrative Expenses                                      -




                                                                     61
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 111 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00             $2,445,452.14
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      62
                        Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22          Page 112 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                         -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                               -                   -                          -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                               -                   -                          -
                  Fund:
Line 17           DC & State Tax Payments                                                    -                 -                                              -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                               -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                           8
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                                     -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                                   -


1.    Represents 8 individual claim submissions received by Epiq since the start of the Receivership

Following Court approval (see Dkt. #787, 813), COF has been removed from the Receivership Estate. Reporting is retained to capture historical activity of
the entity.



                                                                                                         Receiver:
                                                                                                         By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver    (for the period during which COF
                                                                                                                   was subject to the Receivership Order)
                                                                                                                   (title)


                                                                                                         Date:       August 1, 2022




                                                                               63
                     Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 113 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Capital Opportunities GP, LLC (COF, GP)- Cash Basis
                                           Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                   Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                        Detail           Subtotal       Grand Total       Case to Date
Line 1          Beginning Balance                                                                               $0.00                  $0.00
                Increases in Fund Balance:
Line 2          Business Income                                                   -                -                                  $0.03
Line 3          Cash and Securities                                               -                -                             $10,150.00
Line 4          Interest/Dividend Income                                          -                -                              $7,585.46
Line 5          Business Asset Liquidation                                        -                -                            $696,227.53
Line 6          Personal Asset Liquidation                                        -                -                                      -
Line 7          Third-Party Litigation                                            -                -                                      -
Line 8          Miscellaneous - Other                                             -                -                                $511.10
                Total Funds Available (Lines 1-8):                                                 -           $0.00            $714,474.12
                Decreases in Fund Balance:
Line 9          Disbursements to Claimants                                        -                -               -                       -
Line 10         Disbursements for Receivership Operations
   Line 10      Internal Transfers / Loans                                        -                                             $665,360.03
   Line 10a     Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b     Business Asset Expenses                                           -                                              $45,699.09
   Line 10c     Personal Asset Expenses                                           -                                                       -
   Line 10d     Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e     Third-Party Litigation Expenses                                   -                                                       -
                  1. Attorney Fees                                                -
                  2. Litigation Expenses                                          -
                 Total Third-party Litigation Expenses                                             -
  Line 10f      Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g      Federal and State Tax Payments                                    -                                               $3,415.00
                Total Disbursements for Receivership Operations                                    -               -            $714,474.12
                Disbursements for Distribution Expenses Paid by the
Line 11
                Fund:
  Line 11       Distribution Plan Development Expenses                            -                                                        -
  Line 11a      Distribution Plan Development Expenses:                           -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          Independent Distribution Consultant (IDC)               -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -
                  3. Miscellaneous                                                -
                Total Plan Development Expenses                                                    -
  Line 11b      Distribution Plan Implementation Expenses:                        -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          IDC                                                     -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -




                                                                      64
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 114 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00              $714,474.12
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      65
                        Case 3:16-cv-00438-JR                  Document 997             Filed 08/12/22              Page 115 of 199



                        Claims Processing                                                     -
                        Web Site Maintenance/Call Center                                      -
                    4. Fund Administrator Bond                                                -
                    5. Miscellaneous                                                          -
                    6. FAIR Reporting Expenses                                                -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                          -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                         -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                -                    -           -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                       -
   Line 16b               Federal Tax Payments                                                -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                -                    -           -
                  Fund:
Line 17           DC & State Tax Payments                                                     -                 -                                -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                   -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                              36
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                        -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                      -


1.    Represents 36 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 5 duplicative claims
      • 7 late filed claims




                                                                                                                    Receiver:
                                                                                                                    By:
                                                                                                                          (signature)
                                                                                                                          Ronald F. Greenspan
                                                                                                                          (printed name)

                                                                                                                          Receiver
                                                                                                                          (title)


                                                                                                                    Date: August 1, 2022




                                                                               66
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 116 of 199




                 STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Corporate Lending, LLC (ACL)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00            $30,686.62
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                          $6,246,621.00
Line 4        Interest/Dividend Income                                          -               -                             $88,362.54
Line 5        Business Asset Liquidation                                        -               -                          $3,931,704.19
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00         $10,297,374.35
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                         $10,296,974.35
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                               $400.00
              Total Disbursements for Receivership Operations                                   -                -        $10,297,374.35
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    67
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 117 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00            $10,297,374.35
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      68
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 118 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          69
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 119 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for Aequitas EIF Debt Fund, LLC (EIFDF)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                                $899.97
Line 4        Interest/Dividend Income                                          -                -                                  $0.06
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00                $900.03
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                   $0.03
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                                 $900.00
              Total Disbursements for Receivership Operations                                    -               -                $900.03
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    70
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 120 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                  $900.03
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      71
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 121 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          72
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 122 of 199




               STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Enhanced Income Fund, LLC (EIF)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00            $39,574.91
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                                      -
Line 4        Interest/Dividend Income                                          -               -                                $307.47
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                $180.18
              Total Funds Available (Lines 1-8):                                                -           $0.00             $40,062.56
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                             $23,505.80
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                             $16,556.76
              Total Disbursements for Receivership Operations                                   -                -            $40,062.56
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    73
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 123 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00               $40,062.56
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      74
                       Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22          Page 124 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                         -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                              -                -               -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                -               -
                 Fund:
Line 17          DC & State Tax Payments                                                   -                  -                                -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                  -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                              9
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                       -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                     -


1.    Represents 8 NOD forms provided by the Receiver and 1 individual claim submission received by Epiq since the start of the Receivership


                                                                                                        Receiver:
                                                                                                        By:
                                                                                                                  (signature)
                                                                                                                  Ronald F. Greenspan
                                                                                                                  (printed name)

                                                                                                                  Receiver
                                                                                                                  (title)


                                                                                                        Date: August 1, 2022




                                                                             75
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 125 of 199




                 STANDARDIZED FUND ACCOUNTING REPORT for Aequitas ETC Founders Fund, LLC (ETC)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                              $3,706.94
Line 4        Interest/Dividend Income                                          -                -                                  $0.08
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00              $3,707.02
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                        -
   Line 10b   Business Asset Expenses                                           -                                                        -
   Line 10c   Personal Asset Expenses                                           -                                                        -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                        -
   Line 10e   Third-Party Litigation Expenses                                   -                                                        -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $3,707.02
              Total Disbursements for Receivership Operations                                    -               -              $3,707.02
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    76
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 126 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                 $3,707.02
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      77
                        Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22          Page 127 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                        -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                              -                  -                         -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                  -                         -
                  Fund:
Line 17           DC & State Tax Payments                                                    -                -                                            -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                             -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                         5
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                                  -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                                -


1.    Represents 5 individual claim submissions received by Epiq since the start of the Receivership


Following Court approval (see Dkt. #787, 813), ETC has been removed from the Receivership Estate. Reporting is retained to capture historical activity of the
entity.

                                                                                                            Receiver:
                                                                                                            By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver    (for the period during which ETC
                                                                                                                   was subject to the Receivership Order)
                                                                                                                   (title)


                                                                                                            Date: August 1, 2022




                                                                               78
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 128 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Hybrid Fund, LLC (Hybrid)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                              $4,560.96
Line 4        Interest/Dividend Income                                          -                -                                 $14.90
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00              $4,575.86
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                               $1,975.86
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $2,600.00
              Total Disbursements for Receivership Operations                                    -               -              $4,575.86
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    79
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 129 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00                 $4,575.86
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      80
                        Case 3:16-cv-00438-JR                  Document 997             Filed 08/12/22              Page 130 of 199



                        Claims Processing                                                     -
                        Web Site Maintenance/Call Center                                      -
                    4. Fund Administrator Bond                                                -
                    5. Miscellaneous                                                          -
                    6. FAIR Reporting Expenses                                                -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                           -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                         -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                 -                -         -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                       -
   Line 16b               Federal Tax Payments                                                -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                 -                -         -
                  Fund:
Line 17           DC & State Tax Payments                                                     -                  -                          -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                              -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                         21
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                   -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                 -


1.    Represents 21 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 1 duplicative claim
      • 1 late filed claim
                                                                                                           Receiver:
                                                                                                           By:
                                                                                                                     (signature)
                                                                                                                     Ronald F. Greenspan
                                                                                                                     (printed name)

                                                                                                                     Receiver
                                                                                                                     (title)


                                                                                                           Date: August 1, 2022




                                                                               81
                     Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 131 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Income Opportunity Fund II, LLC (IOF               II)- Cash Basis
                                           Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                   Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                        Detail           Subtotal       Grand Total       Case to Date
Line 1          Beginning Balance                                                                               $0.00            $17,436.79
                Increases in Fund Balance:
Line 2          Business Income                                                   -               -                                          -
Line 3          Cash and Securities                                               -               -                                          -
Line 4          Interest/Dividend Income                                          -               -                                    $192.34
Line 5          Business Asset Liquidation                                        -               -                                          -
Line 6          Personal Asset Liquidation                                        -               -                                          -
Line 7          Third-Party Litigation                                            -               -                                          -
Line 8          Miscellaneous - Other                                             -               -                                          -
                Total Funds Available (Lines 1-8):                                                -           $0.00                 $17,629.13
                Decreases in Fund Balance:
Line 9          Disbursements to Claimants                                        -               -                -                         -
Line 10         Disbursements for Receivership Operations
   Line 10      Internal Transfers / Loans                                        -                                                 $16,429.13
   Line 10a     Disbursements to Receiver or Other Professionals                  -                                                          -
   Line 10b     Business Asset Expenses                                           -                                                          -
   Line 10c     Personal Asset Expenses                                           -                                                          -
   Line 10d     Hospital Settlements & Investment Expenses                        -                                                          -
   Line 10e     Third-Party Litigation Expenses                                   -                                                          -
                  1. Attorney Fees                                                -
                  2. Litigation Expenses                                          -
                 Total Third-party Litigation Expenses                                            -
  Line 10f      Tax Administrator Fees and Bonds                                  -                                                          -
  Line 10g      Federal and State Tax Payments                                    -                                                  $1,200.00
                Total Disbursements for Receivership Operations                                   -                -                $17,629.13
                Disbursements for Distribution Expenses Paid by the
Line 11
                Fund:
  Line 11       Distribution Plan Development Expenses                            -                                                          -
  Line 11a      Distribution Plan Development Expenses:                           -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          Independent Distribution Consultant (IDC)               -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -
                  3. Miscellaneous                                                -
                Total Plan Development Expenses                                                   -
  Line 11b      Distribution Plan Implementation Expenses:                        -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          IDC                                                     -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -




                                                                      82
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 132 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00               $17,629.13
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      83
                       Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22           Page 133 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                          -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                               -                -                         -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                               -                -                         -
                 Fund:
Line 17          DC & State Tax Payments                                                    -                  -                                          -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                            -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                      595
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                  -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                                -


1.    Represents 590 NOD forms provided by the Receiver and 5 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 1 late filed claim


                                                                                                         Receiver:
                                                                                                         By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver
                                                                                                                   (title)


                                                                                                         Date: August 1, 2022




                                                                              84
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 134 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Income Opportunity Fund, LLC (IOF)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00           $235,071.99
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                                      -
Line 4        Interest/Dividend Income                                          -               -                              $6,131.00
Line 5        Business Asset Liquidation                                        -               -                            $136,936.21
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $2,525.92
              Total Funds Available (Lines 1-8):                                                -           $0.00            $380,665.12
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                            $362,790.12
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                             $16,500.00
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $1,375.00
              Total Disbursements for Receivership Operations                                   -                -           $380,665.12
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -




                                                                    85
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 135 of 199



                 2. Administrative Expenses                                          -
                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00              $380,665.12
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -




                                                                      86
                       Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22           Page 136 of 199



                       Claimant Identification                                              -
                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                          -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                               -                -                         -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                               -                -                         -
                 Fund:
Line 17          DC & State Tax Payments                                                    -                  -                                          -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                            -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                      101
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                  -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                                -


1.    Represents 90 NOD forms provided by the Receiver and 11 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 2 duplicative claims
                                                                                                         Receiver:
                                                                                                         By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver
                                                                                                                   (title)


                                                                                                         Date: August 1, 2022




                                                                              87
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 137 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Income Protection Fund, LLC (IPF)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00              $4,037.08
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                          $1,044,028.77
Line 3        Cash and Securities                                               -                -                                      -
Line 4        Interest/Dividend Income                                          -                -                              $9,204.78
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00          $1,057,270.63
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                           $1,054,645.63
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $2,625.00
              Total Disbursements for Receivership Operations                                    -               -          $1,057,270.63
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    88
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 138 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                          -
              Total Disbursements to Court/Other:                                                     -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00             $1,057,270.63
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      89
                       Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22           Page 139 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                          -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                               -                -                         -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                               -                -                         -
                 Fund:
Line 17          DC & State Tax Payments                                                    -                  -                                          -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                            -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                      428
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                                  -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                                -


1.    Represents 423 NOD forms provided by the Receiver and 5 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 1 duplicative claim
      • 1 late filed claim

                                                                                                         Receiver:
                                                                                                         By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver
                                                                                                                   (title)


                                                                                                         Date: August 1, 2022




                                                                              90
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 140 of 199




               STANDARDIZED FUND ACCOUNTING REPORT for Aequitas International Holdings, LLC (AIH)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $3.66
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                             $15,000.00
Line 4        Interest/Dividend Income                                          -                -                                $170.84
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $15,174.50
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                              $14,774.50
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                $100.00
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                                 $300.00
              Total Disbursements for Receivership Operations                                    -               -             $15,174.50
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    91
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 141 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00               $15,174.50
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      92
                   Case 3:16-cv-00438-JR                  Document 997         Filed 08/12/22    Page 142 of 199



                    Claims Processing                                             -
                    Web Site Maintenance/Call Center                              -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. FAIR Reporting Expenses                                        -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                               -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                 -
              Total Disbursements for Plan Administrative Expenses
                                                                                                 -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                               -
   Line 16b           Federal Tax Payments                                        -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                 -                -        -
              Fund:
Line 17       DC & State Tax Payments                                             -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                 -
   Line 18b     # of Claims Received Since Inception of Fund                                                               -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                      -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                    -


                                                                                           Receiver:
                                                                                           By:
                                                                                                     (signature)
                                                                                                     Ronald F. Greenspan
                                                                                                     (printed name)

                                                                                                     Receiver
                                                                                                     (title)


                                                                                           Date: August 1, 2022




                                                                          93
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 143 of 199




                     STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Partner Fund, LLC (APF)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                              $5,612.19
Line 4        Interest/Dividend Income                                          -                -                                $472.70
Line 5        Business Asset Liquidation                                        -                -                             $47,899.29
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $53,984.18
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                              $47,871.99
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                               $5,362.19
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                                 $750.00
              Total Disbursements for Receivership Operations                                    -               -             $53,984.18
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    94
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 144 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00               $53,984.18
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      95
                        Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22        Page 145 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                       -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                             -                -    -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                             -                -    -
                  Fund:
Line 17           DC & State Tax Payments                                                    -               -                     -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                     -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                 4
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                          -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                        -


1.    Represents 4 individual claim submissions received by Epiq since the start of the Receivership


                                                                                                       Receiver:
                                                                                                       By:
                                                                                                             (signature)
                                                                                                             Ronald F. Greenspan
                                                                                                             (printed name)

                                                                                                             Receiver
                                                                                                             (title)


                                                                                                       Date: August 1, 2022




                                                                               96
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 146 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Peer-To-Peer Funding, LLC (AP2PF)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022
                                                                                           0




FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00            $43,352.91
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                                      -
Line 4        Interest/Dividend Income                                          -               -                                $897.61
Line 5        Business Asset Liquidation                                        -               -                             $36,499.28
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                 $27.27
              Total Funds Available (Lines 1-8):                                                -           $0.00             $80,777.07
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                             $77,787.96
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                               $989.11
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,000.00
              Total Disbursements for Receivership Operations                                   -                -            $80,777.07
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    97
                   Case 3:16-cv-00438-JR                Document 997            Filed 08/12/22        Page 147 of 199



                 3. Investor Identification:                                         -
                       Notice/Publishing Approved Plan                               -
                       Claimant Identification                                       -
                       Claims Processing                                             -
                       Web Site Maintenance/Call Center                              -
                 4. Fund Administrator Bond                                          -
                 5. Miscellaneous                                                    -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                     -
              Total Plan Implementation Expenses                                                      -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                      -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                                 -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                           -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                                -                                                         -
              Total Disbursements to Court/Other:                                                     -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                                 $0.00               $80,777.07
Line 13       Ending Balance (As of 06/30/22):                                                                    $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                           $0.00                    $0.00
   Line 14b     Investments                                                                                           -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                       -                        -
                 Total Ending Balance of Fund - Net Assets                                                        $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                              04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                            Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                         -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                       -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Miscellaneous                                                     -
              Total Plan Development Expenses Not Paid by the Fund                                    -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                             -
                      Fund Administrator                                             -
                      IDC                                                            -
                      Distribution Agent                                             -
                      Consultants                                                    -
                      Legal Advisers                                                 -
                      Tax Advisers                                                   -
                2. Administrative Expenses                                           -
                3. Investor Identification:                                          -
                    Notice/Publishing Approved Plan                                  -
                    Claimant Identification                                          -




                                                                      98
                       Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22      Page 148 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                  -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                       -                    -    -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                       -                    -    -
                 Fund:
Line 17          DC & State Tax Payments                                                    -          -                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                    -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                2
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                         -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                       -


1.    Represents 2 NOD forms provided by the Receiver since the start of the Receivership

                                                                                                 Receiver:
                                                                                                 By:
                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                 Date:       August 1, 2022




                                                                             99
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 149 of 199




                 STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Private Client Fund, LLC            (PCF)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00              $7,599.71
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                              $3,900.04
Line 3        Cash and Securities                                               -                -                           $132,810.00
Line 4        Interest/Dividend Income                                          -                -                           $100,435.56
Line 5        Business Asset Liquidation                                        -                -                          $8,740,098.85
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00          $8,984,844.16
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                           $8,844,015.86
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                            $137,951.61
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $2,876.69
              Total Disbursements for Receivership Operations                                    -               -          $8,984,844.16
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    100
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 150 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00             $8,984,844.16
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      101
                       Case 3:16-cv-00438-JR                  Document 997            Filed 08/12/22           Page 151 of 199



                        Claims Processing                                                   -
                        Web Site Maintenance/Call Center                                    -
                    4. Fund Administrator Bond                                              -
                    5. Miscellaneous                                                        -
                    6. FAIR Reporting Expenses                                              -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                         -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                               -                -                            -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                     -
   Line 16b               Federal Tax Payments                                              -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                               -                -                            -
                  Fund:
Line 17           DC & State Tax Payments                                                   -                  -                                             -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                           -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                      27
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                                    -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                                  -


1.    Represents 4 NOD forms provided by the Receiver and 23 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 6 duplicative claims
      • 1 late filed claim
                                                                                                         Receiver:
                                                                                                         By:
                                                                                                                   (signature)
                                                                                                                   Ronald F. Greenspan
                                                                                                                   (printed name)

                                                                                                                   Receiver
                                                                                                                   (title)


                                                                                                         Date: August 1, 2022




                                                                              102
                     Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 152 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Senior Housing Operations, LLC (ASHO)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                            REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                   Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                        Detail           Subtotal       Grand Total       Case to Date
Line 1          Beginning Balance                                                                               $0.00                  $0.00
                Increases in Fund Balance:
Line 2          Business Income                                                   -                -                                      -
Line 3          Cash and Securities                                               -                -                              $1,234.14
Line 4          Interest/Dividend Income                                          -                -                                  $0.06
Line 5          Business Asset Liquidation                                        -                -                                      -
Line 6          Personal Asset Liquidation                                        -                -                                      -
Line 7          Third-Party Litigation                                            -                -                                      -
Line 8          Miscellaneous - Other                                             -                -                                      -
                Total Funds Available (Lines 1-8):                                                 -           $0.00              $1,234.20
                Decreases in Fund Balance:
Line 9          Disbursements to Claimants                                        -                -               -                       -
Line 10         Disbursements for Receivership Operations
   Line 10      Internal Transfers / Loans                                        -                                                   $0.03
   Line 10a     Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b     Business Asset Expenses                                           -                                                       -
   Line 10c     Personal Asset Expenses                                           -                                                       -
   Line 10d     Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e     Third-Party Litigation Expenses                                   -                                                       -
                  1. Attorney Fees                                                -
                  2. Litigation Expenses                                          -
                 Total Third-party Litigation Expenses                                             -
  Line 10f      Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g      Federal and State Tax Payments                                    -                                               $1,234.17
                Total Disbursements for Receivership Operations                                    -               -              $1,234.20
                Disbursements for Distribution Expenses Paid by the
Line 11
                Fund:
  Line 11       Distribution Plan Development Expenses                            -                                                        -
  Line 11a      Distribution Plan Development Expenses:                           -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          Independent Distribution Consultant (IDC)               -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -
                  3. Miscellaneous                                                -
                Total Plan Development Expenses                                                    -
  Line 11b      Distribution Plan Implementation Expenses:                        -
                  1. Fees:                                                        -
                          Fund Administrator                                      -
                          IDC                                                     -
                          Distribution Agent                                      -
                          Consultants                                             -
                          Legal Advisers                                          -
                          Tax Advisers                                            -
                  2. Administrative Expenses                                      -




                                                                      103
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 153 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00                 $1,234.20
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      104
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 154 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          105
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 155 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Senior Housing, LLC (ASH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                $12.99
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                       -
Line 3        Cash and Securities                                               -               -                                 $588.00
Line 4        Interest/Dividend Income                                          -               -                              $21,394.66
Line 5        Business Asset Liquidation                                        -               -                           $1,899,700.00
Line 6        Personal Asset Liquidation                                        -               -                                       -
Line 7        Third-Party Litigation                                            -               -                                       -
Line 8        Miscellaneous - Other                                             -               -                                       -
              Total Funds Available (Lines 1-8):                                                -           $0.00           $1,921,695.65
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                           $1,920,495.65
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $1,200.00
              Total Disbursements for Receivership Operations                                   -                -          $1,921,695.65
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    106
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 156 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00             $1,921,695.65
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      107
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 157 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date:       August 1, 2022




                                                                          108
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 158 of 199




     STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Wealth Management Partner Fund, LLC (AWMPF)- Cash Basis
                                       Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                                $875.00
Line 4        Interest/Dividend Income                                          -                -                                  $0.02
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00                $875.02
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                   $0.02
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                                 $875.00
              Total Disbursements for Receivership Operations                                    -               -                $875.02
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    109
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 159 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00                  $875.02
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      110
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 160 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          111
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 161 of 199




              STANDARDIZED FUND ACCOUNTING REPORT for Aequitas Wealth Management, LLC (AWM)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                             $25,776.90
Line 3        Cash and Securities                                               -                -                              $1,500.00
Line 4        Interest/Dividend Income                                          -                -                                $252.22
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $27,529.12
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                              $22,809.12
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $4,720.00
              Total Disbursements for Receivership Operations                                    -               -             $27,529.12
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    112
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 162 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00               $27,529.12
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      113
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 163 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          114
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 164 of 199




                      STANDARDIZED FUND ACCOUNTING REPORT for Aequitas WRFF I, LLC (AWRFFI)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00               $100.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $3,220.00
Line 4        Interest/Dividend Income                                          -               -                                $107.72
Line 5        Business Asset Liquidation                                        -               -                            $164,003.00
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $5,968.97
              Total Funds Available (Lines 1-8):                                                -           $0.00            $173,399.69
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                              $4,565.47
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                            $164,508.69
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $4,325.53
              Total Disbursements for Receivership Operations                                   -                -           $173,399.69
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    115
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 165 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00              $173,399.69
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      116
                        Case 3:16-cv-00438-JR                  Document 997             Filed 08/12/22             Page 166 of 199



                        Claims Processing                                                     -
                        Web Site Maintenance/Call Center                                      -
                    4. Fund Administrator Bond                                                -
                    5. Miscellaneous                                                          -
                    6. FAIR Reporting Expenses                                                -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                             -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                         -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                                   -                     -                        -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                       -
   Line 16b               Federal Tax Payments                                                -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                                   -                     -                        -
                  Fund:
Line 17           DC & State Tax Payments                                                     -                    -                                              -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                                   -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                               3
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                                         -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                                       -


1.    Represents 3 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 1 late filed claim

Following Court approval (see Dkt. #787, 813), AWRFFI has been removed from the Receivership Estate. Reporting is retained to capture historical activity
of the entity.
                                                                                                           Receiver:
                                                                                                           By:
                                                                                                                       (signature)
                                                                                                                       Ronald F. Greenspan
                                                                                                                       (printed name)

                                                                                                                       Receiver (for the period during which AWRFFI
                                                                                                                       was subject to the Receivership Order)
                                                                                                                       (title)


                                                                                                           Date:         August 1, 2022




                                                                               117
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 167 of 199




               STANDARDIZED FUND ACCOUNTING REPORT for Aspen Grove Equity Solutions,             LLC (AGES)- Cash Basis
                                       Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00            $85,601.94
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                                      -
Line 4        Interest/Dividend Income                                          -               -                                $991.01
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00             $86,592.95
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                             $85,992.95
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                                $600.00
              Total Disbursements for Receivership Operations                                   -                -            $86,592.95
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    118
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 168 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00               $86,592.95
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      119
                        Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22        Page 169 of 199



                        Claims Processing                                                    -
                        Web Site Maintenance/Call Center                                     -
                    4. Fund Administrator Bond                                               -
                    5. Miscellaneous                                                         -
                    6. FAIR Reporting Expenses                                               -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                       -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                             -                -        -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                      -
   Line 16b               Federal Tax Payments                                               -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                             -                -        -
                  Fund:
Line 17           DC & State Tax Payments                                                    -               -                         -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                         -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                     2
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                              -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                            -


1.    Represents 2 individual claim submissions received by Epiq since the start of the Receivership



                                                                                                       Receiver:
                                                                                                       By:
                                                                                                                 (signature)
                                                                                                                 Ronald F. Greenspan
                                                                                                                 (printed name)

                                                                                                                 Receiver
                                                                                                                 (title)


                                                                                                       Date:      August 1, 2022




                                                                              120
                   Case 3:16-cv-00438-JR                Document 997          Filed 08/12/22     Page 170 of 199




                   STANDARDIZED FUND ACCOUNTING REPORT for Campus Student Funding, LLC (CSF)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                       $1,138,288.98         $2,170,204.80
              Increases in Fund Balance:
Line 2        Business Income                                                      -            -                                      -
Line 3        Cash and Securities                                                  -            -                          $2,487,131.04
Line 4        Interest/Dividend Income                                      $538.18      $538.18                            $308,002.31
Line 5        Business Asset Liquidation                                  $82,474.32   $82,474.32                         $37,837,044.65
Line 6        Personal Asset Liquidation                                           -            -                                      -
Line 7        Third-Party Litigation                                               -            -                                      -
Line 8        Miscellaneous - Other                                                -            -                             $15,586.60
              Total Funds Available (Lines 1-8):                                       $83,012.50   $1,221,301.48         $42,817,969.40
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                           -            -                -          $1,961,505.22
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                           -                                      $32,184,289.87
   Line 10a   Disbursements to Receiver or Other Professionals                     -                                       $1,081,640.78
   Line 10b   Business Asset Expenses                                      $9,078.00                                       $5,595,296.20
   Line 10c   Personal Asset Expenses                                              -                                                   -
   Line 10d   Hospital Settlements & Investment Expenses                           -                                        $775,000.00
   Line 10e   Third-Party Litigation Expenses                                      -                                                   -
                1. Attorney Fees                                                   -
                2. Litigation Expenses                                             -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                     -                                                   -
  Line 10g    Federal and State Tax Payments                                       -                                           $8,013.85
              Total Disbursements for Receivership Operations                           $9,078.00       $9,078.00         $39,644,240.70
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                               -                                                    -
  Line 11a    Distribution Plan Development Expenses:                              -
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        Independent Distribution Consultant (IDC)                  -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -
                3. Miscellaneous                                                   -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                           -
                1. Fees:                                                           -
                        Fund Administrator                                         -
                        IDC                                                        -
                        Distribution Agent                                         -
                        Consultants                                                -
                        Legal Advisers                                             -
                        Tax Advisers                                               -
                2. Administrative Expenses                                         -




                                                                    121
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 171 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                          $9,078.00            $41,605,745.92
Line 13       Ending Balance (As of 06/30/22):                                                         $1,212,223.48             $1,212,223.48
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                $1,212,223.48             $1,212,223.48
   Line 14b     Investments                                                                                        -                         -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                         -
                 Total Ending Balance of Fund - Net Assets                                             $1,212,223.48             $1,212,223.48

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      122
                       Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22           Page 172 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                         -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                              -                -                    -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                -                    -
                 Fund:
Line 17          DC & State Tax Payments                                                   -                  -                                     -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                       -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                 191
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                           -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                         1


1.    Represents 189 NOD forms provided by the Receiver and 2 individual claim submissions received by Epiq since the start of the Receivership



                                                                                                        Receiver:


                                                                                                        (signature)
                                                                                                        Ronald F. Greenspan
                                                                                                        (printed name)

                                                                                                        Receiver
                                                                                                        (title)


                                                                                                        August 1, 2022




                                                                             123
                                Case 3:16-cv-00438-JR                  Document 997                                   Filed 08/12/22                                              Page 173 of 199


                                                         SubscheduleforCampusStudentFunding,LLC(CSF)ͲCashBasis
                                                                     Receivership;CivilCourtCaseNo.3:16ͲcvͲ00438ͲJR
                                                                        ReportingPeriod04/01/2022to06/30/2022


FUNDACCOUNTING:
                                                                                               Subcategory                                              Detail                             Subtotal                          GrandTotal                    Reference
Line1           BeginningBalance(Asof04/01/2022):                                                                                                                                                                 1,138,288.98
                 IncreasesinFundBalance:
Line2           BusinessIncome                                                    Ͳ   Ͳ   Ͳ
Line3           CashandSecurities                                                Ͳ   Ͳ   Ͳ
Line4           Interest/DividendIncome                                           538.18         538.18        538.18
Line5           BusinessAssetLiquidation                                         Ͳ   82,474.32           82,474.32
                   Collections:
                      CampusStudentFunding,LLC                                   82,474.32
Line6           PersonalAssetLiquidation                                         Ͳ   Ͳ   Ͳ
Line7           ThirdͲPartyLitigationIncome                                      Ͳ   Ͳ   Ͳ
Line8           MiscellaneousͲOther                                              Ͳ   Ͳ   Ͳ
                 TotalFundsAvailable(Lines1Ͳ8):                                                                                                                             83,012.50 1,221,301.48

                 DecreasesinFundBalance:
Line9           DisbursementstoClaimants                                         Ͳ   Ͳ   Ͳ   Ͳ
Line10          DisbursementsforReceivershipOperations
      Line10   InternalTransfers/LoansTo:                                     Ͳ   Ͳ
     Line10a    DisbursementstoReceiverorOtherProfessionals                   Ͳ   Ͳ
     Line10b    BusinessAssetExpenses                                            Ͳ   9,078.00
                   ServicingFees                                                   9,078.00
     Line10c PersonalAssetExpenses                                               Ͳ   Ͳ
     Line10d HospitalSettlements&InvestmentExpenses                            Ͳ   Ͳ
     Line10e ThirdͲPartyLitigationExpenses                                       Ͳ
               TotalThirdͲPartyLitigationExpenses                                                                                        Ͳ
      Line10f TaxAdministratorFeesandBonds                                     Ͳ   Ͳ
      Line10g FederalandStateTaxPayments                                        Ͳ   Ͳ
               TotalDisbursementsforReceivershipOperations                                                                                                                  9,078.00 9,078.00
Line11        DisbursementsforDistributionExpensesPaidbytheFund
     Line11a DistributionPlanDevelopmentExpenses
               TotalPlanDevelopmentExpenses                                                                                               Ͳ
     Line11b DistributionPlanImplementationExpenses                             Ͳ
               TotalPlanImplementationExpenses                                                                                            Ͳ
               TotalDisbursementsforDistributionExpensesPaidbytheFund                                                                                                     Ͳ   Ͳ
Line12        DisbursementstoCourt/Other:                                                                                                 Ͳ
     Line12a InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees      Ͳ
     Line12b FederalTaxPayments                                                  Ͳ
               TotalDisbursementstoCourt/Other:                                                                                                                                Ͳ   Ͳ
               TotalFundsDisbursed(Lines9Ͳ12):                                                                                                                                                                   9,078.00
Line13          EndingBalance(Asof06/30/2022):                                                                                                                                                                    1,212,223.48




                                                                                          124
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 174 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for CarePayment Holdings, LLC (CPH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00               $293.18
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                          $7,227,348.43
Line 3        Cash and Securities                                               -               -                          $6,604,869.48
Line 4        Interest/Dividend Income                                          -               -                                $131.64
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $6,432.24
              Total Funds Available (Lines 1-8):                                                -           $0.00         $13,839,074.97
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                           $6,604,269.53
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                           $7,232,005.44
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,800.00
              Total Disbursements for Receivership Operations                                   -                -        $13,839,074.97
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    125
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 175 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00            $13,839,074.97
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      126
                       Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22    Page 176 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                  -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                       -                    -    -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                       -                    -    -
                 Fund:
Line 17          DC & State Tax Payments                                                    -          -                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                    -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                5
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                         -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                       -


1.    Represents 5 NOD forms provided by the Receiver since the start of the Receivership



                                                                                                 Receiver:
                                                                                                 By:
                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                 Date: August 1, 2022




                                                                             127
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 177 of 199




                         STANDARDIZED FUND ACCOUNTING REPORT for CarePayment, LLC (CPLLC)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00           $151,688.27
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                          $2,105,265.71
Line 3        Cash and Securities                                               -               -                         $24,976,176.63
Line 4        Interest/Dividend Income                                          -               -                           $173,885.40
Line 5        Business Asset Liquidation                                        -               -                        $114,619,975.25
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                              $2,786.92
              Total Funds Available (Lines 1-8):                                                -           $0.00        $142,029,778.18
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -        $39,842,380.46
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                         $19,359,778.06
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                         $23,309,589.28
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                         $59,514,777.13
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $3,253.25
              Total Disbursements for Receivership Operations                                   -                -       $102,187,397.72
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    128
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 178 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00          $142,029,778.18
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      129
                       Case 3:16-cv-00438-JR                 Document 997             Filed 08/12/22          Page 179 of 199



                       Claims Processing                                                   -
                       Web Site Maintenance/Call Center                                    -
                   4. Fund Administrator Bond                                              -
                   5. Miscellaneous                                                        -
                   6. FAIR Reporting Expenses                                              -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                         -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                              -                -                        -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                     -
   Line 16b              Federal Tax Payments                                              -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                -                        -
                 Fund:
Line 17          DC & State Tax Payments                                                   -                  -                                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                                           -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                                   2,435
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                                               -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                                             1


1.    Represents 2,432 NOD forms provided by the Receiver and 3 individual claim submissions received by Epiq since the start of the Receivership




                                                                                                        Receiver:
                                                                                                        By:
                                                                                                                  (signature)
                                                                                                                  Ronald F. Greenspan
                                                                                                                  (printed name)

                                                                                                                  Receiver
                                                                                                                  (title)


                                                                                                        Date: August 1, 2022




                                                                             130
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 180 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for CP Funding I Holdings, LLC (CPFIH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                $38.76
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                      -
Line 3        Cash and Securities                                               -               -                              $1,161.21
Line 4        Interest/Dividend Income                                          -               -                                  $0.06
Line 5        Business Asset Liquidation                                        -               -                                      -
Line 6        Personal Asset Liquidation                                        -               -                                      -
Line 7        Third-Party Litigation                                            -               -                                      -
Line 8        Miscellaneous - Other                                             -               -                                      -
              Total Funds Available (Lines 1-8):                                                -           $0.00              $1,200.03
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -                      -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                                  $0.03
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                                      -
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $1,200.00
              Total Disbursements for Receivership Operations                                   -                -             $1,200.03
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    131
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 181 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00                 $1,200.03
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      132
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 182 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          133
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 183 of 199




                 STANDARDIZED FUND ACCOUNTING REPORT for Hickory Growth Partners, LLC (Hickory)- Cash Basis
                                        Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                         REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00                  $0.00
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                                $450.00
Line 4        Interest/Dividend Income                                          -                -                                  $9.88
Line 5        Business Asset Liquidation                                        -                -                             $27,750.00
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00             $28,209.88
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                              $27,909.88
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                                 $300.00
              Total Disbursements for Receivership Operations                                    -               -             $28,209.88
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -




                                                                    134
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 184 of 199



                 2. Administrative Expenses                                       -
                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00               $28,209.88
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -




                                                                      135
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 185 of 199



                    Claimant Identification                                        -
                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          136
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 186 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for ML Financial Holdings, LLC (MLFH)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00              $7,078.90
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                      -
Line 3        Cash and Securities                                               -                -                                      -
Line 4        Interest/Dividend Income                                          -                -                                 $28.98
Line 5        Business Asset Liquidation                                        -                -                                      -
Line 6        Personal Asset Liquidation                                        -                -                                      -
Line 7        Third-Party Litigation                                            -                -                                      -
Line 8        Miscellaneous - Other                                             -                -                                      -
              Total Funds Available (Lines 1-8):                                                 -           $0.00              $7,107.88
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                               $1,243.59
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                       -
   Line 10b   Business Asset Expenses                                           -                                                       -
   Line 10c   Personal Asset Expenses                                           -                                                       -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                       -
   Line 10e   Third-Party Litigation Expenses                                   -                                                       -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                       -
  Line 10g    Federal and State Tax Payments                                    -                                               $5,864.29
              Total Disbursements for Receivership Operations                                    -               -              $7,107.88
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                        -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    137
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 187 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00                 $7,107.88
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      138
                       Case 3:16-cv-00438-JR                 Document 997            Filed 08/12/22    Page 188 of 199



                       Claims Processing                                                    -
                       Web Site Maintenance/Call Center                                     -
                   4. Fund Administrator Bond                                               -
                   5. Miscellaneous                                                         -
                   6. FAIR Reporting Expenses                                               -
                  Total Plan Implementation Expenses Not Paid by the
                 Fund                                                                                  -
     Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                        -
                 Total Disbursements for Plan Administrative Expenses
                                                                                                       -                -        -
                 Not Paid by the fund
Line 16          Disbursements to Court/Other Not Paid by the Fund:
   Line 16a              Investment Expenses/CRIS Fees                                      -
   Line 16b              Federal Tax Payments                                               -
                 Total Disbursements to Court/Other Not Paid by the
                                                                                                       -                -        -
                 Fund:
Line 17          DC & State Tax Payments                                                    -          -                         -
Line 18          No. of Claims:
   Line 18a        # of Claims Received This Reporting Period                                                                    -
   Line 18b        # of Claims Received Since Inception of Fund 1                                                                3
Line 19          No. of Claimants / Investors:
   Line 19a        # of Claimants / Investors Paid This Reporting Period                                                         -
   Line 19b        # of Claimants / Investors Paid Since Inception of Fund                                                       -


1.    Represents 3 NOD forms provided by the Receiver since the start of the Receivership



                                                                                                 Receiver:
                                                                                                 By:
                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                 Date: August 1, 2022




                                                                             139
                   Case 3:16-cv-00438-JR               Document 997          Filed 08/12/22      Page 189 of 199




                      STANDARDIZED FUND ACCOUNTING REPORT for MotoLease Financial, LLC (MLF)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22    03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total        Case to Date
Line 1        Beginning Balance                                                                           $27,538.30         $1,910,987.78
              Increases in Fund Balance:
Line 2        Business Income                                                    -              -                                       -
Line 3        Cash and Securities                                                -              -                           $3,692,539.52
Line 4        Interest/Dividend Income                                      $12.21         $12.21                            $129,592.76
Line 5        Business Asset Liquidation                                         -              -                          $16,133,962.96
Line 6        Personal Asset Liquidation                                         -              -                                       -
Line 7        Third-Party Litigation                                             -              -                                 $100.00
Line 8        Miscellaneous - Other                                              -              -                              $20,022.94
              Total Funds Available (Lines 1-8):                                           $12.21       $27,550.51         $21,887,205.96
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                          -              -               -                       -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                          -                                        $20,007,230.21
   Line 10a   Disbursements to Receiver or Other Professionals                    -                                                     -
   Line 10b   Business Asset Expenses                                     $1,485.00                                         $1,829,911.49
   Line 10c   Personal Asset Expenses                                             -                                                     -
   Line 10d   Hospital Settlements & Investment Expenses                          -                                                     Ͳ
   Line 10e   Third-Party Litigation Expenses                                     -                                                     -
                1. Attorney Fees                                                  -
                2. Litigation Expenses                                            -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                    -                                                     -
  Line 10g    Federal and State Tax Payments                                      -                                            $23,998.75
              Total Disbursements for Receivership Operations                           $1,485.00        $1,485.00         $21,861,140.45
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                              -                                                      -
  Line 11a    Distribution Plan Development Expenses:                             -
                1. Fees:                                                          -
                        Fund Administrator                                        -
                        Independent Distribution Consultant (IDC)                 -
                        Distribution Agent                                        -
                        Consultants                                               -
                        Legal Advisers                                            -
                        Tax Advisers                                              -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                          -
                1. Fees:                                                          -
                        Fund Administrator                                        -
                        IDC                                                       -
                        Distribution Agent                                        -
                        Consultants                                               -
                        Legal Advisers                                            -
                        Tax Advisers                                              -
                2. Administrative Expenses                                        -




                                                                    140
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 190 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                          $1,485.00            $21,861,140.45
Line 13       Ending Balance (As of 06/30/22):                                                            $26,065.51                $26,065.51
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                   $26,065.51               $26,065.51
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                $26,065.51               $26,065.51

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      141
                       Case 3:16-cv-00438-JR                  Document 997            Filed 08/12/22           Page 191 of 199



                        Claims Processing                                                   -
                        Web Site Maintenance/Call Center                                    -
                    4. Fund Administrator Bond                                              -
                    5. Miscellaneous                                                        -
                    6. FAIR Reporting Expenses                                              -
                   Total Plan Implementation Expenses Not Paid by the
                  Fund                                                                                        -
     Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                       -
                  Total Disbursements for Plan Administrative Expenses
                                                                                                              -                 -                            -
                  Not Paid by the fund
Line 16           Disbursements to Court/Other Not Paid by the Fund:
   Line 16a               Investment Expenses/CRIS Fees                                     -
   Line 16b               Federal Tax Payments                                              -
                  Total Disbursements to Court/Other Not Paid by the
                                                                                                              -                 -                            -
                  Fund:
Line 17           DC & State Tax Payments                                                   -                 -                                              -
Line 18           No. of Claims:
   Line 18a         # of Claims Received This Reporting Period                                                                                           -
   Line 18b         # of Claims Received Since Inception of Fund 1                                                                                      45
Line 19           No. of Claimants / Investors:
   Line 19a         # of Claimants / Investors Paid This Reporting Period                                                                                    -
   Line 19b         # of Claimants / Investors Paid Since Inception of Fund                                                                                  -


1.    Represents 5 NOD forms provided by the Receiver and 40 individual claim submissions received by Epiq since the start of the Receivership, including:
      • 2 amended claims
      • 20 late filed claims



                                                                                                           Receiver:


                                                                                                           (signature)
                                                                                                           Ronald F. Greenspan
                                                                                                           (printed name)

                                                                                                           Receiver
                                                                                                           (title)


                                                                                                           August 1, 2022




                                                                              142
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 192 of 199




                        STANDARDIZED FUND ACCOUNTING REPORT for The Hill Land, LLC (Hill        Land)- Cash Basis
                                          Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                           REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00            $36,126.74
              Increases in Fund Balance:
Line 2        Business Income                                                   -                -                                     -
Line 3        Cash and Securities                                               -                -                                     -
Line 4        Interest/Dividend Income                                          -                -                                 $1.66
Line 5        Business Asset Liquidation                                        -                -                                     -
Line 6        Personal Asset Liquidation                                        -                -                                     -
Line 7        Third-Party Litigation                                            -                -                                     -
Line 8        Miscellaneous - Other                                             -                -                                     -
              Total Funds Available (Lines 1-8):                                                 -           $0.00            $36,128.40
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -                -                  -                   -
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                             $35,000.00
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                              $1,128.40
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                             -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                                      -
              Total Disbursements for Receivership Operations                                    -                  -         $36,128.40
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                    -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    143
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 193 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                         -
              Total Disbursements to Court/Other:                                                  -               -                        -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00               $36,128.40
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                    $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      144
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 194 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          145
                   Case 3:16-cv-00438-JR               Document 997        Filed 08/12/22        Page 195 of 199




                    STANDARDIZED FUND ACCOUNTING REPORT for Unigo Student Funding, LLC (USF)- Cash Basis
                                         Receivership; Civil Court Case No. 3:16-cv-00438-JR
                                          REPORTING PERIOD 04/01/2022 TO 06/30/2022

FUND ACCOUNTING (See Instructions):                                 Current Reporting Period 04/01/22 to 06/30/22   03/16/16 to 06/30/22
                                                                      Detail           Subtotal       Grand Total       Case to Date
Line 1        Beginning Balance                                                                               $0.00           $829,669.82
              Increases in Fund Balance:
Line 2        Business Income                                                   -               -                                       -
Line 3        Cash and Securities                                               -               -                            $185,000.00
Line 4        Interest/Dividend Income                                          -               -                               $8,173.09
Line 5        Business Asset Liquidation                                        -               -                           $1,009,807.74
Line 6        Personal Asset Liquidation                                        -               -                                       -
Line 7        Third-Party Litigation                                            -               -                                       -
Line 8        Miscellaneous - Other                                             -               -                               $4,904.80
              Total Funds Available (Lines 1-8):                                                -           $0.00           $2,037,555.45
              Decreases in Fund Balance:
Line 9        Disbursements to Claimants                                        -               -                -          $1,049,118.52
Line 10       Disbursements for Receivership Operations
   Line 10    Internal Transfers / Loans                                        -                                            $951,453.40
   Line 10a   Disbursements to Receiver or Other Professionals                  -                                                      -
   Line 10b   Business Asset Expenses                                           -                                             $34,587.03
   Line 10c   Personal Asset Expenses                                           -                                                      -
   Line 10d   Hospital Settlements & Investment Expenses                        -                                                      -
   Line 10e   Third-Party Litigation Expenses                                   -                                                      -
                1. Attorney Fees                                                -
                2. Litigation Expenses                                          -
               Total Third-party Litigation Expenses                                            -
  Line 10f    Tax Administrator Fees and Bonds                                  -                                                      -
  Line 10g    Federal and State Tax Payments                                    -                                              $2,396.50
              Total Disbursements for Receivership Operations                                   -                -           $988,436.93
              Disbursements for Distribution Expenses Paid by the
Line 11
              Fund:
  Line 11     Distribution Plan Development Expenses                            -                                                       -
  Line 11a    Distribution Plan Development Expenses:                           -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        Independent Distribution Consultant (IDC)               -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -
                3. Miscellaneous                                                -
              Total Plan Development Expenses                                                   -
  Line 11b    Distribution Plan Implementation Expenses:                        -
                1. Fees:                                                        -
                        Fund Administrator                                      -
                        IDC                                                     -
                        Distribution Agent                                      -
                        Consultants                                             -
                        Legal Advisers                                          -
                        Tax Advisers                                            -
                2. Administrative Expenses                                      -




                                                                    146
                   Case 3:16-cv-00438-JR                Document 997         Filed 08/12/22        Page 196 of 199



                 3. Investor Identification:                                      -
                       Notice/Publishing Approved Plan                            -
                       Claimant Identification                                    -
                       Claims Processing                                          -
                       Web Site Maintenance/Call Center                           -
                 4. Fund Administrator Bond                                       -
                 5. Miscellaneous                                                 -
                 6. Federal Account for Investor Restitution (FAIR)
              Reporting Expenses                                                  -
              Total Plan Implementation Expenses                                                   -
              Total Disbursements for Distribution Expenses Paid by
                                                                                                   -                 -                          -
              the Fund
Line 12       Disbursements to Court/Other:
   Line 12    Disbursements to Court                                              -                                                             -
                 Investment Expenses/Court Registry Investment
  Line 12a                                                                        -                                                             -
              System (CRIS) Fees
  Line 12b       Federal Tax Payments                                             -                                                          -
              Total Disbursements to Court/Other:                                                  -               -                         -
              Total Funds Disbursed (Lines 9-12):                                                              $0.00             $2,037,555.45
Line 13       Ending Balance (As of 06/30/22):                                                                 $0.00                     $0.00
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a     Cash & Cash Equivalents                                                                        $0.00                    $0.00
   Line 14b     Investments                                                                                        -                        -
   Line 14c     Other Assets or Uncleared Funds                                                                    -                        -
                 Total Ending Balance of Fund - Net Assets                                                     $0.00                    $0.00

              OTHER SUPPLEMENTAL INFORMATION:                           04/01/22 to 06/30/22                             03/16/16 to 06/30/22
                                                                         Detail         Subtotal       Grand Total           Case to Date
              Report of Items NOT To Be Paid by the Fund:
              Disbursements for Plan Administration Expenses Not
Line 15
              Paid by the Fund:
  Line 15     Disbursements for Plan Administration Expenses                      -                                                             -
  Line 15a     Plan Development Expenses Not Paid by the Fund:                    -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Miscellaneous                                                  -
              Total Plan Development Expenses Not Paid by the Fund                                 -
  Line 15b     Plan Implementation Expenses Not Paid by the Fund:                 -                                                             -
                1. Fees:                                                          -
                      Fund Administrator                                          -
                      IDC                                                         -
                      Distribution Agent                                          -
                      Consultants                                                 -
                      Legal Advisers                                              -
                      Tax Advisers                                                -
                2. Administrative Expenses                                        -
                3. Investor Identification:                                       -
                    Notice/Publishing Approved Plan                               -
                    Claimant Identification                                       -




                                                                      147
                   Case 3:16-cv-00438-JR                  Document 997          Filed 08/12/22    Page 197 of 199



                    Claims Processing                                              -
                    Web Site Maintenance/Call Center                               -
                4. Fund Administrator Bond                                         -
                5. Miscellaneous                                                   -
                6. FAIR Reporting Expenses                                         -
               Total Plan Implementation Expenses Not Paid by the
              Fund                                                                                -
  Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                  -
              Total Disbursements for Plan Administrative Expenses
                                                                                                  -                -        -
              Not Paid by the fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a           Investment Expenses/CRIS Fees                                -
   Line 16b           Federal Tax Payments                                         -
              Total Disbursements to Court/Other Not Paid by the
                                                                                                  -                -        -
              Fund:
Line 17       DC & State Tax Payments                                              -              -                         -
Line 18       No. of Claims:
   Line 18a     # of Claims Received This Reporting Period                                                                  -
   Line 18b     # of Claims Received Since Inception of Fund                                                                -
Line 19       No. of Claimants / Investors:
   Line 19a     # of Claimants / Investors Paid This Reporting Period                                                       -
   Line 19b     # of Claimants / Investors Paid Since Inception of Fund                                                     -


                                                                                            Receiver:
                                                                                            By:
                                                                                                      (signature)
                                                                                                      Ronald F. Greenspan
                                                                                                      (printed name)

                                                                                                      Receiver
                                                                                                      (title)


                                                                                            Date: August 1, 2022




                                                                          148
Case 3:16-cv-00438-JR   Document 997   Filed 08/12/22   Page 198 of 199




                        Exhibit C
     Case 3:16-cv-00438-JR   Document 997         Filed 08/12/22      Page 199 of 199



Acronyms Glossary

               Acronym                            Full Name
        ACF              Aequitas Commercial Finance, LLC
        ACF-PN           Aequitas Commercial Finance Private Notes
        ACL              Aequitas Corporate Lending, LLC
        ACM              Aequitas Capital Management, Inc.
        AH or AHL        Aequitas Holdings, LLC
        AICPA            American Institute of Certified Public Accountants
        AIM              Aequitas Investment Management, LLC
        AM or AML        Aequitas Management, LLC
        APF              Aequitas Partner Fund, LLC
        ASFG             American Student Financial Group, Inc.
        CFPB             Consumer Financial Protection Bureau
        CPFIT            CP Funding I Trust
        CPLLC            CarePayment LLC
        CPYT             CarePayment Technologies, Inc.
        CSF              Campus Student Funding, LLC
        D&O              Directors and Officers Liability Insurance
        DTI              Document Technologies, Inc.
        FTI              FTI Consulting, Inc.
        IAC              Investment Advisory Committee
        IRA              Individual Retirement Account
        IRS              Internal Revenue Service
        IT               Information Technology
        LLC              Limited Liability Company
        LLP              Limited Liability Partnership
        LP               Limited Partnership
        Ltd.             Limited Company
        MLF              Motolease Financial, LLC
        PCF              Aequitas Private Client Fund, LLC
        PSF              Portland Seed Fund
        RFP              Request For Production
        S.A.             Société anonyme
        SaaS             Software as a Service
        SEC              Securities and Exchange Commission
